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                        EXHIBIT A
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                        PURCHASB AND SALE AGREEMENT



                              Dated as of August1,2077



                                      between



                            Badlands Production CornPanY

                                     as   ttSellert'

                                           and



                                Wapiti Newco, L.L.C.

                                     as ttBuYer"
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                                PI]RCHASB AND SALB AGREEMENT

               THIS PURCHASE AND SALE AGREEMENT (this "Agreernent"), dated August                        7,
                                                                                      corporation
     2017 (the,,Execution Date"), is between Badlands Production Conrpany, a Delaware
     (..Budìund,T,-*Sç]]E'),*ithofficesat7979'E'TrrftsAventte,Suite1150,Denver,Co80237,
     ;"d w"ptti Newco, fl.c., a Delaware limited liability company ("Buyer"), wrth off,ices at 800
     Gessner, Suite I100, Houston, Texas 77024.

                                                   Recitals:

               A.    Seller intends to become debtors and debtors in possession under chapter 1l of
     title ll of the United States Code, 11 U.S.C. $$ 101, et seq. (the "Bankruptc]l Code") as a result
     of filing a voluntary petition
                            -ttre    for relief under chapter 1 I of the Bankluptcy Code on or before
     August ll, 2011 in           United States Bankruptcy Court lor the District of Colorado (the
     ,,BÃrkruptcy Court"), where Seller's bankrr-rptcy case is to be administered (the "Bankruptcy
     Case"),

               B.  Buyer desires to purchase Seller's interests in the Property (as defìned herein)
     Free and Clear (as defined herein) (except for Permitted Encumbrances (as defined hcrein)
                                                                                                         and

     Buyer,s Assumed Obligations (as defined herein))      and  Seller desires  to sell its interests in the
     próperty to Buyer, all sirbject to and according to the terms and  cotrditions set  forth  below  (such
     purchase and sale, the "sale Transaction").

               C.    Sgbject to the terms of this Agreement and the Bid Procedure Order, Buyer and
     Seller (each, a "Pafty" and, collectively, the "Parties") intend that the Buyer's acquisition
                                                                                                   of the
     properìy would bããccomplished through the sale, transfer and assignment ol the Property by
     Selier to Buyer, pursuant to sections 105, 363 and 365 of the Bankruptcy Code, in each
                                                                                                 instance
     Free and Ciear other than Permitted Encumbrances and Buyer's Assumed Obligations to the
     extent provided for in the Sale Order'

               D. Seller intends, pursuant to theterms of the final form of the Bid Procedures Order
     approved by the Bankruptcy Court, to conduct a Sale Process to sell all of the Property and
     Ár.r..¿ O-bligations, all as more specifically provided for herein, and the sale of the Property
     shall be subjeõt to Buyer's offer. being the highest or otherwise best offel as detemined in
     accordance with the Bid Procedures Order at the conclusion of the Saie Process.

               E.   The Parties acknowledge and agree that the terms of this Agreement are the resr'rlt
     of arm's length negotiations.

               F.   Capitalized terms used in this Agreement, and in tbe schedules and exhibits
     attached hereto, súall have the meanings given to such terms in Exhibit A, Definitions.

            NOV/, THEREFORE, in consideration of the premises and mutual covenants contained
     herein ancl other good and valuable consideratiou, the receipt and sufficiency of which arc
     hereby acknowledged, the Parlies agree as follows.
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                                                Agreements:

           NO\ry, THEREFORE, in consideration of the above recitals and of the covenants and
     agreements herein contained, Seller and Buyel agree as follows:

            l.      purchased property, Subject to and upon the terms and conditions herein set
     forth,Sel1er'n@ordancewiththisAgreemcntandsubjecttotheapprovalof
     the Bankrr-rptcy Court) (the '¿Effective Date") sell, transfer, assign, convey, and deliver to Buyer,
     and Buyer s¡âtt pu.ónase, receive, pay for, and accept all of Seller's right and title to, and
     interest in, and all privileges and obligations appurtenant to, the following described property
     rights, interests, piluit"g.r and obligations (sucl, property rights, interest, privileges and
     otligations, SAVE an¿ BXCBpT the Excluded Assets described in Section 3, are hereafter
     refeãed to collectively as the "Propertlr'") Free and Clear (except for Permitted Encumblances
     and Buyer's Assumed Obligations):

                    (a)     Oil and Gas Interests; and

                    (b)     the Assumed Contracts, ìncluding all rights, obligations and interests in all
            such Assumed Contracts and applicable to the other rights, titles and interests included in
            this definition of the term "Property."

             2.     Assumption and Reiection of Contracts.

                    (a)      Schedule 2(a) sets forth a list (the "Executor)/ Contract List") of all
             Executory Contracts to which the Sellel is a party or by which Seller or any of the
             Property are bounci, including aii Material Contracts. Schcdule 2(a) iücludes a cuíe
             ,"håd.ri. that identifies, for each Contract on the Executory Contract List, the estimated
             Cure Costs (and if no Cure Costs is estimated to be applicable with respect to any
             particular Executory Contract, the amount of such Cure Costs has been designated for
             iuch Executory Contract as "$0.00") that must be paid in order for Seller to assume, and
             to assign to Buyer, each Contract listed thereon purslìant to this Agreement (the "Contract
             and Cure Schedule"). From the date the Contract and Cure Schedule is provided through
             (und i*lrdirÐ th" Closing, prornptly following any material changes to tlie information
             set forth on such scheduie (including any new Executory Contracts to which Seller
             becomes a party and any change in the total amount of the Ctlre Costs of any such
             Executory Contract), Seller shall providc Buyer with a schedule that updates and corrects
             the Contract and Cure Schedule. Subject to the entry of the Bicl Procedures Order, Seller
             shall serve a cure notice that includes the Contract and Cure Schedule on the
             counterparties to each Contract listed on the Executory Contract List. Any counterparty
             to a Cõntract included on the Executory Contract List shall have the tirne period
             prescribed by the Bid Procedures Order, or any other applicable Bankruptcy Court Order,
             io file with the Bankruptcy Court and serve on Buyer and Seller an objection to the Cure
             Costs listed on the Contract and Cr-rre Schedule and to the adequate asstìrance of future
             performance by Buyer. At any tirne prior to tlie tenth (10'l') Business Day immediately
             preceding the Auction, Buyer rnay clesignate in writing any Contract listed on the
              b*."utor-y Contract List or any other Contract to which Seller is a parly or by which
              Seller or the Property are bound, as a Contract 1o be assLtlned by Seller and assigned to

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          Buyer pursuant to this Agreement (collectively the "$.s-sumed Contracts"). In additiott,
          any Contract deleted from tlie Executory Contract List by Buyer, by such date, shall be
          deãmed to no longer be an Assumed Contract. Notwithstanding the foregoing, to the
          extent that a¡y objection is filed by a counterparty to an Executory Contract within ten
          (10) Business Days prior to the Auction, Buyer may designate any such Executory
          Contract as an Assnmed Contract or Excluded Contract up to one (l) Br-rsiness Day prior
          to the Auction. All Contracts to which Seller is a party or by which Seller or any of its
          assets or properties are bound that are not designated as Assumed Contracts or listed on
          the Executory Contract List shall be deemed to be "Excluded Contracts", Seller shall be
          responsible for the verification of all Cure Costs for each Executory Contract and shall
          estãblish the proper Cure Costs, if any, for each Execr-rtory Contract at the hearing to
          consider the Sale Order. Buyer shall be obligated to pay all Cure Costs in the amounts
          determined by the Bankruptcy Court in the Sale Order; provided that Buyer shall receive
          a closing .r.ãit fu. the amount that the total amotmt of all Cure Costs as established by
          the Bankruptcy Coufi for Assumed Contracts (except those Assumed Contracts to which
          Wapiti Oil & Gas II. L.L.C. is a counterparty) exceed the total amount of the Ctrre Costs
          for Assumed Contracts (except those Assumed Contracts to which Wapiti Oil & Gas II,
          L.L.C. is a counterparly) as set forth on Schedule 2(a). Buyer shall not be lequired to
          make any payment for Cure Costs for, or otherwise have any liabilities with respect to,
          any Contráct that is not an Assumed Contract. For the avoidance of doubt the contracts
          with tne following palties shall not be Assumed Contracts: Monarch Natural Gas, LLC;
          Chipeta Processing, LLC; Qurestar Pipeline Company; or any of those parties' Affiliates,
          .r"ô"r*or. or assigns. With respect to each Assumed Contract, Buyer shall assLrme all
          obligations regarding the demonstration of adequate assurance of future performance
          rcquired with respect to the Assumed Contracts under Section 365 of the Bankruptcy
          Code. For the avoidance of doubt, any exclusions of Assumed Contracts aftel the
          Execurion Date will not result in any adjustment to the Purchase Price. Buyer will
          receive a closing credit for the Cure Costs, if any, for any Previously Omitted Contracts
           (defined below),

                 (b)     PreviouslvOrnittedContracts'

                         (i)    If, plior to Closing, and while the Bankruptcy Case is pendirlg, it               is
                 discovered that a Contract should have been listed on the Executory Contract List
                 but was not listed on the Executory Contract List (any such Contrac|, a
                 "Previously Omitted Contract"), Seller shal1, as promptly aS reasonably
                 practicable, following the discovery thereof (but in no event later than five (5)
                 business Days following the discovery thereof and in any event prior to dismissal
                 of the Bankruptcy Case), (A) notify Buyer of such Previously Omitted Contract
                 and all Cure Costs (if any) for such Previously Omitted Contract, and (B) if
                 required by Buyer, file a motion with the Bankruptcy Court on appropriate notice
                 to the cou¡terparties to such Previously Ornitted Contract seeking entt'y of an
                 order (the "Omitted Contract Order") fìxing the Cure Costs and approving the
                 assumption by BLryer and assignment to Buyer of such PrevioLrsly Onlitted
                 Coutract in accordalice with this Sectiou 2(b); provided, that no Previously
                 Ornitted Contract shall be assunred and assigned unless sr"rch Previously Omitted


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                    Contract shall be designated by Buryer as an "Assttmed Contract" in accol'dance
                    with this Section 2(bxi)'

                           (ii)    Within five (5) Business Days of its receipt of the notice provided
                    in Sectiàí 2@XiXA), Buyer rhull d"liurt written notice to Sellet', designating sr"rch
                    previously Omìtiecl Contract as an Assumed Contract or an Excluded Contract, as
                    Buyer 111uy determine in its sole discretion. For purposes of the application of
                                                                                                     this
                    Section í,        Previously Omitted      Contract  so designated  as  an  Assumed
                                "ach
                    Contract shall be an Assumed Contract, and each Previously Omitted Contract
                                                                                                       so

                    designated as an Excluded Contract shall be an           Excluded   Contract'  Each
                    previously Omitted Contract shall then be treated in accordance with the
                    provisions of this Section 2 with respect to Assumed Contracts and Excluded
                    Contracts.

            3.    Exclusions from Property. The Property to be conveyed and assigned under this
     Agreement does not include the following, which are reserved by Seller:

                    (a)     The Excluded Assets;

                    (b)     All of Sel,ler's Contracts   that are not Assumed Contracts; and

                    (c)  Except for any Claims and Actions included in the Property, any and all
            Claims and Actions, including any Actions arising under Chapter 5 of the Bankruptcy
            Code.

            4,      Purchase Price and Performance Deposit'

                    (a)    Base Purchase Price. Subject to Section 4(b) below, the aggregate
            consideration for the Property (the "Base Purchase PricQ" will be:

                              (i)    Five Million Dollars ($5,000,000.00) for all of the Property, (the
                    "Cash Consideration"); and

                              (ii)   the assumption of the Buyer''s Assumed obligations                        (defined
                    below).

                     The Base Purchase Price shall be adjusted as provided herein and as adjusted is
                    referred to herein as the "Purchase Price'"

                    (b)    Deposit. Upon execution of this Agreement, Buyer shall deliver to Seller
            i¡ escrow in a form satisfactory to Buyer a performance deposit of ten percent (10%) of
            the Cash Consideration component of the Base Purchase Price (the "Performance
            Deposit") to assure Buyer's p.iforrnun"" of its obligations heretlnder. No interest shallbe
            pr¿ tot deemed earned) on the Performance Deposit, At Closing, the Perfornance
            b"porit shall be a Blryei''s credìt against the payment of the Purchase Price. If this
            Agree¡re¡t is terminated withor"rt a Closing, then the distribution of the Performatrce
            Deposit shall be governed by the provisions of Section 25'


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                      (c)    Allocation, Seller and Buyer agree that the Base Purchase Price shall be
            allocated among the Property as set forth on Exhibit F for the purpose of (i) establishing a
            basis f,or certaìn Taxes ånd (ii) giving notices of value to the owners of any preferential
            rights to purchase the Oil and Gas lnterests (for each such Propetty, its "Allocated
            Value").

            5.        Reprcsentations of Seller. As of the date hereof, Seller represents and warrants
     to Éìuyer as follows:

                      (u) Oualification. Badlands is a corporation validly existing and in good
            standing-und"r t1.,. luws of the State of Delaware and is duly qualified to own its
            properties and the Property ownecl by it and to carry on its business as now being
            conducted.

                      (b) Authoritv. Upon approval by the Bankruptcy       Court to enter into tiris
            Agreernent pursuant to the Sale Order, Seller has the requisite power and authority to
            exicute and deliver this Agreement and to consummate the transactions contemplated
            hereby.

                      (c)    Validity   of Obligation. This Agreement and all             other transaction
            documents Seller is to execute and deliver on or before the Closing Date (i) have been
            duly or shall have been executed by its authorized representatives; (ii) constitute its valid
            and legally binding obligations; and (iii) are enforceable against it in accorclance with
            their rcspective terms, in each case subject to entry of the Sale Order.

                      (d)  No Violation of Contractual Restrictions. Except fiiirrgs with, notices to,
            consents or approvals of Governmental Authorities customarily obtained subsequent to a
            sale or transfei and assuming the receipt of all consents or approvals applicable to the
            transactions contemplated hereunder, including those in Schedule 5(d) (the "Scheduled
            Consents"), this Agreement, and the execution and delivery hereof by Seller, subject to
            tfr" .t try of the Sale Order, do not and the consltmmation of the transactions
            contemplared hereby will not (i) colflict with or result in a breach of the governance
            agreements or bylaws of Seller or any other governing documents of Seller' (ii) violate,
            cónflict with, or constitute a default under, or result in the creation or itnposition of any
            Lien upou any propefty or assets of Seller under any moftgage, deed of trust, indenture,
            or agreement to which it is a party or by which the Property is bouud, which violatiolr,
                      or default might adversely affect the ability of Seller to perform its obligations
            "onñi"t,
            under this Agreement, or (iii) violate any statute or law or any judgment, decree, ordet',
            writ, inju¡ction, regulation, or rule of any court or Governmental Authority, which
            violation might adversely affect the ability of Seller to perform its obligatiorrs r-rnder this
             Agreement.

                       (e) No Restrainins Litigation. There is no Action by any Person pending or, to
             Seller's Knowledge, threatened against it bcfore any Governmental Authority that seeks
             damages in connectio¡ with, or seeks to restrain, enjoin, impair or prohibit the
             consummation of all or part of the transaction contemplated in this Agt'eement,



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                  (Ð     Contracts. Solely as of the Execution Date, the list of Coutracts set forth
          in gxhiÚlt ¡, as snch Exhibit exists on the Execution Date, includes the following
          Contracts included i¡ the Property: (i) all farmout, farmin, development and other similar
          agreements with ¡emaining drilling or assignment obligations on the part of Seller or any
          nih", pu.ty, (ii) all Contracts that would obligate Buyer to drill additional wells or
          conduåt other material development operations after the Closing, (iii) all Contracts that
          provide f<¡r an area of mutual interest, (iv) all Contracts that contain a non-conipete
          ägreement that would restrict, limit or prohibit the manner in which, or the locations in
          *hi"h, Buyer may conduct its business, (v) all Contracts involving the transportation or
          processingof proàuction that would not be cancelable by Buyer after Closing upon notice
          ðf OO days or less without liability for furtlier payment other than nominal penalty
          (including those providing for volumetric or monetary commitments or indemnification
          therefor or for dedication of future production), (vi) all Contracts providing for any call
          upon, optio¡ to purchase or similar rights with respect to the Property or to the production
          therefrom or thè processing thereof, and (vii) all Contracts that provide for the suppiy or
          transportation of water associated with or used in production from the Leases, the Wells
          or the Units (herein collectively the "Material Contracts").

                  (g) No      Brokers' Fees. Seller has incurred no Iiability, contingent, or
           otherwisã, for brokers' or finders' fees relating to the transactions contemplated by this
           Agreement for which Buyer would be liable.

                  (h)     Tax Matters. Seller is not a "foreign person" as def,rned in Section 1445 of
           the Internal Revenue Code of 1986, as amended and in any regulations promulgated
           thereunder (the "Code"), All material Tax returns required to be filed by Seller on or
           6efore the Closing Date with respect to Taxes payable in respect of tlie Property have
           been, or will be, timely filed with the appropriate governmental authority and, except as
           set forth on Schedule 5(h), all Taxes shown on such retlrrns have been or will be paid.
           Except u. ."t fbrth on Schedule 5(h), none of the Property is subject to a tax partnership
           agreement or alrangement for federal income tax putposes'

                  (i)    Actions. Except as set forth on Schedule 5(i), to Seller's Knowledge,
           there are no claims, actions, suits, or proceedings (including condemnation or similar
           proceedings) frled or threatened against the Property or any porlion thereof that would
           have a Material Adverse Effect on the value or operation of the Propefiy, taken as a
           whole.

                   1j) Production Matters. Except as set forth on Schedule 5(jl, to Seller's
           Kriowledge, none of the Oil and Gas Interests are encumbered by take-or-pay
           arrangements with purchasers of oil or gas whereby Seller is obligated (i) to deliier
           prodr,rclion without receiving payment therefor or (ii) to repay monies received for'
           production paid for but not taken.

                  (k)      No Violation of Laws. To Seller's Knowledge, Seller has not violated any
           laws, statutes, regulatioÍts, or orders applicable (excluding Environmental Laws, which
           have been hanclled exclusively in Section 5Qr)) to any of the Propefiy or the operation



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           thereof which violation (i) would have a Material Adverse Effect on the valne or
           operation of the affected Property or (ii) has not been remedied'

                   (l)      Consents, Assuming entry of the Sale Order, except as set forth on
            Schedule 5(l), no material Consent is required to be obtained by Seller in connection with
            the transfer of the Property to Buyer, the execution, delivery orperformanceby Seller of
            this Agreement or the consummation by Sellel of the transactions contetnplated hereby or
            thereby, other than any consent the failure of which to obtain would lot have a Material
            Adverie Effect. Except for Permitted Encumbrances or as set forth on Schedule 5(lXA),
            there are no valid and enforceable preferential purchase rights, rights of first refusal or
            similar rights to which Seller is a party or to which the Properties are subject that are
            applicable to the transactions contemplated hereby.

                   (m)     Definition   of Seller's Knowledge. In     those instances where Seller's
            representations are made on the basis of "seller's Knowledge," such representations are
            ,nàd. on the basis of the actual knowledge of any of Seller's offrcers and any knowledge
            such officer should have had as an otlicer o1' Seller, and any actual knowledge of David
            Burnett (consultant to Seller). For purposes of this Agreement, "knowledge such officer
            should have had as an off,icer of Seller" shall mean knowledge that wolrld have been
            gained by an officer through the reasonable performance of his/her duties.

                   fn)      Certain Environmental Matters. Seller has not received prior to the
            Execution Date any communication from: (a) any Governmental Authority alleging the
            violatiorr of or liability under any Environmental Law with respect to the Property or
            requesting, with respect to the Property, information witb respect to an investigatioll
            pursuant to any Environmental Law; or (b) any landowner or surface owller of any tract
            upon which any of the Property is located alleging material violation of or material
            Iiability under any Environmental Law, in each case, which has not been fully remecliated
            in accordance with applicable Environmental Laws (to the extent remediation was
            reqnired, if at all), To Seller's Knowledge, Seller is not in violation of any Environnrental
            Law.

            6.        Representations of Buyer. As of the date hereof, Buyer represents and warrants
     to Seller as follows:

                    (u)    Oualifications. Buyer is a limited liability con.ìpany validly existing and in
            good standing under the laws of the State of Delaware and is duly qualified to own its
            properlies and assets and to cany on its business as now being conducted.

                    (b)     Authoritv. Buyer has the requisite power and autholity to execttte              and
            deliver this Agreement and to consummate the transactions contemplated hereby, subject
            to entry of the Sale Order.

                    (c)     Validitv of   Oblisation.    T'his Agreetnent and all other transactlol.ì
            documents Buyer is to execute and del iver on or before the Closing Date (i) have been
            dLrly or shal I have been executed by its authorized representatives; (ii) colistitute its valid



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           and legally binding obligations; and (iii) are enforceable against it in accordance with
           their respective terrns, in each case subject to entry of the Sale Order.

                  (d) No Violation.       Buyer's execution, delivery and perfonrat.ìce of this
           Agreement do not conflict with or violate any Contt'act or instrunlent to which it is a
           party or by which it is bound'

                  (e)      No Brokers' Fees. Buyer has incurred no liability,            contingent or
           otherwise, for brokers' or f,inders' fees  relating to the transactions contemplated by this
           Agreement for which Seller   would   be liable.

                  (Ð     No Restrainins Litigation. To Buyer's Knowledge, there is no Action by
           any Person pending or threatened, against Buyer before any Governmental Authority that
           seéks substantial damages in connection with, or seeks to restrain, enjoin, materially
           impair or prohibit the consummation of all or parl of the transaction contemplated in this
           Agreement.

                  (g)      No Proìections. Buyer acknowledges that neither Seller nor any of its
           Affiliatei have made any warranty, express or implied, as to the performance, utility or
           prospects, f,rnancial or otl.ìerwise, or the profitability of the Property for Buyer, or with
           iespãct to any forecasts, projections or business plans prepared by or on behalf of Seller
           uná d"liu..ed to Eluyer in connection with Buyer's review of the Property and the
           negotiation and the execution of this Agreement.

                   (h)      Permits. Buyel or its designated operator is now or at Closing will be, and
           thereafter will continue to be, qualified to own and, as applicable, operate any federal,
           state or tribal oil, gas and mineral leases, and any oil, gas and mineral leases for all states
           in which the Oil a¡d Gas Interests are located, including meeting all bonding
           requirements. Consummating the transaction conternplated in this Agreement will not
           cause Buyer to be disqualified or to exceed any acreage limitation imposed by applicable
           Law.

                   (Ð       Sufficient Fr-rnds. Buyer has, and will have on the Closing Date and
           thereafter, sufficient cash to enable it to make payment in immediately available funds of
           the Purchase Price and any other amounts to be paid by it hereunder'. The letter from
           Buyer's lender or financing entity attached hereto as Schedule 6(i) is true and correct as
           of the Execution Date and shall be true and correct as of the Closing Date.

                   û) Knowledgeable Investor. Buyer is an experienced an<J knowledgeable
           investor in the oil and gas business aud is sophisticatcd in the evaluatiotl, pnrchase,
           ownership, and operation of oil and gas properties and related facilities. Buyer is not
           acquiring the Property in connection with a distribution or resale thereof in violation of
           federal or State securities laws and the n-rles and regulatìons thereunder.

                   (k)    No Reliance. Prjor to executing tl'ris Agreerrent, Buyer has beelt afforded
           an opportunity to (i) exarnìnc the Property and such docrtt.trettts, instrlttnetlts, and other
           materials as it has ¡equested to be provided to it by Seller, (ii) discLrss with
           representatives of Seller such docurreuts, il.tstt't-ttlents, attd otlrer materials and the llature,

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           cotìditiou, and operation ol the Property, and (iii) investigate the condition, including the
           surface and subsurface condition, of the Property. In entering into this Agreement,lSuyer
           (x) has relied solely on the expless representations and covenants of Seller in this
           Agreement, its independent investigation of, and iudgment with respect to, the Property,
           and the advice of its own legal, tax, economic, environmental, engineering, geological,
           and geophysical advisors, and not on âny comments 01' statements of Seller or its
           Affiliate;, or any representatives or agents of, or consultants or advisors engaged by,
           Seller or its Affiliates and (y) has satisfied itself, or shall satisfy itself through its own due
           diligence, of the environmental and physical condition and contractual arrangements of
           the Property.

                   (l)    Governmental Approval. To Buyer's Knowledge, no fact or circumstance
           exists which worìld preclude or inhibit approval of Seller's assignment(s) of that portion
           of the Property which constitutes state or federal oil, gas and mineral leases to Buyer, by
           any Goveinmental Authority having jurisdiction, including meeting existing or increased
           state and federal bonding or supplemental security requirements of such authority,

                   (m)    Definition of Buver's Knowledee. In those instances where Buyer's
           representations are made on the basis of "Buyer's Knowledge," such representations are
           -ãd" by Buyer     on the basis of the actual knowledge, without any duty of inquily, of Bart
           Agee.

           7.      Due Diligence Review.

                   (a)      Records. Prior to Closing, Seller has made available, and will rnake
           available, to Buyer, and Buyer's aLrthorized representatives, fbr examination as Buyer
           may reasonably request, electronic copies of all Lease files, land files, right-of-way fltlcs,
           *"il ftl"r, product purchase and sale, gathering, and processing contracts, division order
           files, abstrácts, drilling ancl division order title opìuions, engineering and geological data,
           reports, maps, logs, and well records contained in Seller's files relating to the Propefty,
           other than (i) any geophysical data, (ii) any information subject to third party
           co¡fidentiality agreements for which a consent or waiver callnot be secured by Seller
           after reasonable efforts, (iii) any inforrnation subject to an attorney/client, work product,
           or simjlar privilege, (iv) any proplretary evaluations or projections of Seller related to the
           Property, and (v) other information relateil solely to the Excluded Assets (collectively,
           the "Records").

                   (b)     Inspections. Seller shall permit Buyer and Bnyer's                                     authorized
           representatives to consult with Seller's employees during reasonable business hours and
           to conduct, at Buyer's sole risk and expense, non-invasive site inspections anrl
           inventories of the Property that are Seller-Operated; provided, however, that Buyer shall
           provide Seller with not less than two (2) Business Days' written notice prior to Buyer's
           ãntry to the Property, and that Seller shall have the right to send a designated
           representative to accompany Buyer for the duration of such access. The scope of the
           work comprising such inspections shall be limited to conducting a review of the
           compliance statr,rs of the Ploperty with respect to Environnlental Laws and a Phase I
           review ancl olherwise as may be agreed Llpon by Buyer and Sellel' plior to

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           comtneuceme¡t. D¡ring such inspections, Buyer shall have tlre right to evaluate the
           property to determine tbã condition of the Property, but Buyer shall have no right to, and
           shail nót, conduct any soil testiug, groundwater testing, or other invasive or destructive
           testing of the property or take samples from the Property, without Seller's prior written
           .onr.nt. To the extent Buyer desires similar access to Seller's non-operated Property,
           Seller shall assist Buyer in óbtaining such access. Buyer shall not contact the operator of
           any non-operated Oii and Gas Interests directly. If Buyer or alìy of its representatives
           u.ó.rr", any of the Property or Seller's offices, BUYER AGREES TO PROTECT,
           DEFEND, INDEMNIFY, AND HOLD HARMLESS THE SELLER PARTIES
           FROM AND AGAINST ANY AND ALL CLAIMS OCCURRING ON OR
           ARISING OUT OF'ACCESS TO THE PROPERTY, THE SELLER'S OFFICES'
           OR THE FIELD OFFICE, AS THE CASE MAY BE, BY BUYER AND ITS
           REPRESENTATIVES EVEN IF SUCH CLAIMS ARE CAUSED BY THE SOLE'
           JOINT, AND/OR CONCURRENT NEGLIGENCE (BUT NOT THE GROSS
           NEGLIGENCE) OR STRICT LIABILITY OR OTITER FAULT OF THE SELLER
           PARTIES. BUYER'S INDEMNIFICATION OBLIGATION HEREUNDER DOES
           NOT APPLY TO ANY CLAIMS ARISING FROM SELLER'S                                      GROSS
           NEGLIGENCE OR WILLF'UL MISCONDUCT.                      Buyer  agrees to comply  fully with
           all rules, regulations, and instructions issued by Seller  legarding Buyer's actions  while
           upon, entering, or leaving the Property and Seller's offices.

                   (c)     The Parties acknowledge and agree that after tlie Closing, Seller, its
           respectiìé Affiliates, s¡ccessors to Seller and its respective Affiliates (including, without
           limitation, any liquidating trustee or chapter 7 trustee subsequently appointed to
           administer Seller's bankrLrptcy estate or any assets that comprised such bankruptcy
           estate), prepetition Lenders and designated agents and representatives thereof (each such
            party:an ,!\ççeSS_l_A4y', and collectively, the "Access Pafties"), ffiây need access to
           infoimation or documents or other business records in the control or possession of Buyer
           or its Afhliates (whether such records ale physical or electronic, including, without
           lirnitatio¡, a¡y records stored on any computer systems or similar inforrnation systems
           acquired by Buyer pursuaut to this Agreement for one or more purposes, including
           without limitation: (i) preparing or fìling Tax Returns; (ii) selling, using, monetizing or
           otherwise disposing of any Exclirded Assets; and (iii) pursuing any Avoidance Actions or
           other claims or causes of action of any of Seller or its bankruptcy estate (other than
           claims or causes of action against Buyer). For one year following closing, Buyer shall
           reasonably cooperate in connection with, and, during normal business hours, make
           available for inspection and copying by such Access Palties or their successors or
           representatives, ¡pon prior written request and at Seller's sole cost and expense, suclt
           iniormation, documents, business records alld other analogotts information included in
           the Assets, as reasonably requrested by such Access Pafties, sr"rbject to such Access Parties
           executìng a confidentiality agreement requested by Buyet',

           8.      'fitle Review.

                   (a)    Defensìble Title. The term "Defensible Title" neans sLrcli title of Seller to
           the Properties inrnle<liately prior to the Effective Date that, sLrbject to and except for
           Permitted Encumbrances:

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                            (ì)           case of any Lease or any well (limited to cumently
                                       in the
                   producing intervals in such Well), entitles Seller to receive a Net Revenue Interest
                   with respict to the Lease throughout the procluctive life of each Lease or Well of
                   not less than the Net Revenue Interest shown in Exhibit B or Exhibit C, as
                   applicable, with respect to the Lease for such Lease or Well, except (A) as
                   oìh"r*is. specificalþ set forth in such Exhibit, (B) for decreases in connection
                   with those óperationi from and after the Execution Date in which Seller may be a
                   non-consenting co-owner, (C) for decreases resulting from the establishment or
                   amendment ofUnit. occurring in the ordinary course of business from and after
                   the Execution Date, and (E) for decreases required under controlling agreements
                   or applicable Law to allow other Working Interest owners to make up past
                   underproduction or pipelines to make up past underdeliveries;

                             (iì) in the case of any Well (limited to cur.rently producing intervals in
                   such Weli), obligates Seller to bear a Working Interest throughout the productive
                   life of surch Well not greater than the Working Interest for such cuffently
                   producing intervals shown in Exhibit C for such Well, without increase, except
                                                                                                 to the
                   te) ur otherwise specifically set forth in such Exhibit, (B) for increasesSeller's
                   extent that they u.é u""o*panied   by  at least a proportionate  increase in
                   Net Revenue Interest with respect to the currently producing intervals for such
               .   Well and (C) for increases resulting from contribution requirements with respect
                   to defaults or non-consent elections by co-owners under the applicable joint
                   operating agreements; and

                             (iii)     is Free and Clear'

                   (b)   Title Defects. The term "Title Defect" means any Lien, obligation, defect,
           or other matter that cãuses Seller not to have Defensible Title to its Property, provided,
           however, that Permitted Encurmbrances and tlie following shall not be considered Title
           Defects:

                             (i)   defects in the chain of title consisting of the failure to recite marital
                   status in a document;

                             (ii)      defects arising out of taók of survey or lack of metes and bounds
                   description;

                             (iii)defects asserting a change in Working Interest or Net Revenue
                   Interest based on a change in drilling and spacing rurits, tract allocation or other
                   changes i¡ pool or unit particìpation occurring after the Effective Date by a
                   Person other than such Seller;

                             (iv)      {efects arrsing out of lack of evidence of corporate ol' other entity
                      authorization;

                             (u)      defects that have been cured by applicable Laws           of limitations,
                      prescription, laches or otherwise,


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                           (vi)    clefects arising as a result of non-consent interests or fàrrled-ln
                  interests in any  Well not being held of record by Seller;

                           (vii)    defects   or   irregularities resulting from   or related to      probate
                  proceedings or lack tliereof;

                           (viii) defects arising frorn prior oil and gas leases relating to the lands
                  relating to the Property that are terminated, expired or invalid but not surrendered
                  of record;

                           (ix)    any defect that affects only which Person has the right to receive
                  royalty payments (rather than tlie amolrnt of such royalty) and that does not affect
                  the validity of the underlying Lease; and

                           (x)   defects based on references to lack of inforrnation (unless such
                  information (A) is not reflected in the records of the applicable county and (B) is
                  not in the Records made available to Buyer).

                  (c)      Title Benefit, The term "Title Benefit" means any right, circumstance or
           condition tlrat operates to increase the Net Revenue Interest of Seller with respect to the
           currently producing intervals in any Well above that shown in Exhibit C, with respect to
           the currently prodrrcing intervals for such Well.

                  (d)     Notice of Defective Interests. On or before the Defect Notice Date, Buyer
           shallnotify Seller in writing of any matters that, in Buyer's reasonable opinion, constitute
           a Title Defect (sr-rch notice, a "Notice of Defective Interests"). To be effeciive, each
           Notice of Defective Intelests shall be in writing, be received by Seller prior to or on the
           Defect Norice Date and contain thc following: (l) a description of the alleged Title
           Defect, (2) a description of each Property affected by the alleged Title Defect (each such
           Property, a "Title Defect Pfopçl1y"), (3) the Allocated Value of each Title Defect
           Property, (4) supporting documents reasonably necessary for Seller (as well as auy title
           attorney or examiner liired by Seller) to verify the existence of the alleged Title Defect,
           and (5) the amount which Buyer reasonably believes to be the Title Defect Amount as
           provided for in Section 8(Ð, and the computations and infomatiort upon which Bttyer's
           |eliefs are based, To give Seller an oppoltunity to commence reviewing and curing Title
           Defects, prior to the Defect Notice Date, Buyer agrees to use commercially reasonable
           efforts to give Seller weekly notices of all Title Defects discovered by Buyer during the
           preceding week; provided that any such notice may be preliminary in nature and
           iLrpplemðnted prior to the Defect Notice Date. Any matters that may otherwise constitute
           a title Defect, but of which Seller has not been notified by Buyer in a Notice of
           Defective Interests clelivered in accordance with this Section B(d) prior to the Def-ect
           Notice Date, shall be deenred to have been waived by Buyer for all purposes.

                   (e)     Notìce of Title Benefìts. On or before the Defect Notice Date, Seller shall
           aclvise Buye¡  in wliting of any rnatters that, in Scllet''s reasonable opinion, constitute a
           Title Benefit (each such notice, a "Title Benefit Notice"). Each Title Benefìt Notice shall
           be in writing and contain the following: (l) a clear description of the f itle Benefit, (2) a


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          clescriptionof each Property affected by the Title Beneftt (each such Property, a "Tille
          Benedt Propetty"), (:) the Allocated Value of each Title Benefit Property, (4) sr"rpporting
          documents ìeasonably necessary for Buyer (as well as any title attorney or examiner
          hired by Buyer) to verify the existence of the Title Benefit, and (5) thc amount which
          Seller rlasoriabíy believei to be the Title Benefit Amount fbr each Title Benefit Property
           ancl the compLrtátions and information upon which Seller's belief is based. Seller shall be
                                                                                                   the
           deemed to hãve waived all Title Benefits of which it has not given notice on or before
           Defect Notice Date.

                  (Ð     Title Defect Amount, Subject to the provisions of Section B(e), the "Title
           Defect Amountl rrr.u^ the amount by which the Allocated Value of a Title Defect
           p."p".ty          by a Title Defect is reduced as a result of the existence of such Title
                    "ff*t.d
           Defect, which amount shall be determined in accordance with the following
           methodology, terrirs and conditions:

                          (i)     if Buyer and Seller agree in writing on the Title Defect Amount,
                  that amount shall be the Title Defect Amouttt;

                          (ii)     the Title Defect is a Lien that is undisputed and liquidated in
                                  if
                  amount, then the Title Defect Amount shall be the amount of the payment
                  necessary to remove such Title Defect from tlie Title Defect Property;

                          (iii)   in the event that the Title Defect for any Lease or Well is the actual
                  failure of the Seller to own the represented Net Revenue Interest with respect to
                  the Lease or Well set forth on Exhibit B or Exhibit C, as applicable, then the Title
                  Defect Amount shall be equal to the Allocated Value of the Title Det-ect Property
                  multiplied by a fraction, (A) the numerator of which is the difference between (i)
                  tlie actual Net Revenue Interest with respect to the Title Defect Property, and (ii)
                  the Net Revenue Interest with respect to such Title Defect Property as set forth on
                  Exhibit B or Exhibit C, as applicable, and (B) the denominator of which is the Net
                  Revenue Interest with respect to such Title Defbct Property as set forth on Exhibit
                   B or Exhibit C, as aPPlicable; and

                          (iv) if the Title Defect represents an obligation, encutnbrance,          burden
                   or charge upon or other defect in title to the Title Defect Property of a type not
                   describãd in subsections (i), (ii), or (iii) above, the Title Defect Amount shall be
                   determined by taking into account the following factors: (A) any potential
                   discrepancy between (i) the Net Revenue Interest with respect to the Lease or
                   Working Interest with respect to the cr.rrrently producing intervals for such Tìtle
                   Dcfect Þroperty and (ii) the Net Revenue Interest with respect to the Lease or
                   Working Interást with respect to the currently producing intervals as stated on
                   Exhibit B or Exliibit C, as applicable; (B) the Allocated Value of the Title Defect
                   property; (C) the porlion of the Title f)efect Property affected by the Title Defect;
                   (D)'the legal effect of the Title Defect; (E) the values placed r.rpon the Title Defect
                   by Buyer and Seller; (F) the likelihood that the Title Defect will prevent or irnpair
                   tlie timely receipt of production revellues attributable to the Title Defect Property;


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                  and (G) such other reasonable factors as are llecessary           to make a          propcr
                  evaluation.

           Notwithstanding anything to the contrary in this Section 8, the aggregate Title Defect
           Amounts attributable to the effects of all Title Defects upon any Title Defect Property
           shall not exceed the Allocated Value of the Title Detèct Property and if a Title Defect is
           reasonably susceptible to being cured, the Title Defect Amount attributable to such Title
           Defect shall not exceed the cost and expense to cure such Title Defect.

                  (g) Title Deductibles.         Notwithstanding anything to the conÍary in this
           Agreemeit, in no event shall there be any adjustments to the Purchase Price or other
           remedies provided by Seller in connection with the transactions colltemplated hereby for
           any Title Defect affecting a Title Defect Property unless (l) the Title Def'ect Amount
           attiibutable to each inãividual Title Defect exceeds $50,000 ("Individual Title
           Threshold") and (2) in no event shall there be any adjustments to the Purchase Price or
           oth* .*"dies plovided by Seller in connection with the transactions contemplated
           hereby for any Tìtle Defect Amount attributable to a Title Delèct afl'ecting a'l'itle Delect
           property thai exceeds the Individual Title Threshold unless (A) the suur of (i) the
            oggr"gil" Title Defect Amounts of all such Title Defects exceeding the Individual Title
           fliresÉold, excluding any Title Defects cured by Seller, minus (ii) all Titìe Benefit
           Amounts, exceeds (g) the Aggregate Defect Deductible, after whicl, point Buyel shall be
           entitled to adjustments to the Purchase Price or other remedies only with respect to the
           incremental amount of all such Title Defect Amounts, in the aggregate, wìth no recluction
           for Individual Title Thresholds, in excess of such Aggregate Defect Deductible"

                   0i)     Title Benefit Amount. The "Title Benefit Amount" means the amouut by
           which the Allocated Value of a Title Benefit Property affected by a Title Benefit is
           increased as a result of the existence of such Title Benefit. Each Title Benefit Amount
           shall be determined in accordance with the same methodology, tertns and conditions for
           determini¡g each Title Defect Amount. With respect to any Title Benefit reported under
           Section 8(e), providecl that the Title Benefit Amount with respect thereto is in excess of
           the Individual Title Threshold, the Title Benefit Amount attributable to such Title Benefit
           shall be used toreduce the amount of the aggregale Title Defect Amounts attributable to
           Title Defects properly and timely raised by Buyer after taking into account the Individual
           Tjtle Threshold. If the Parties cannot reach an agreement on alleged Title Benefits or
           Title Benefit Amounts by the scheduled Closing, then (1) the average of Seller's and
           Buyer's good faith estimate of such dispLrted Title Benefit Amount shall be used in
           calôulatiñg the reduction to the Title Defect Amounts pursuant to this Section 8(h) to the
           extent applicable, and (2) the provisions of Section 8(l) shall apply. For the avoidance of
           doubr, Seller shall not bc entitled to any remedy with respect to any clainred'fitle Benefit
           if the applicable Title Beneflrt Amount with respect thereto is not in excess of the
           IndividLral Title Threshold.

                   (i)     Title Adjr-rstment Amournt. The amount by which the Purchase Price is to
           be adjLrsted in accordance with this Section 8 for Title Defect Amounts (after, I'or the
           avoidânce of doubt, taking into account tlie Aggregate Defect Deductible) shall be
           referred to as the "Title Adjustment Amount".

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                  0)       Seller's Right to Cure. Continuing until five (5) Business Days after the
           Defect Ñoti.. bate (such period of time, the "Cure Period"), Seller shall have the rìght,
           but not the obltgation, to âttempt, at its sole cost, to cufe or remove any Title Defects
           timely asserted by nuyer pursuant to Section B(d). If Seller believes that it has cured any
           appliáable Title Defeót, Sèller shall deliver written notice thereof to Buyer, together with
           supporting documents available to Seller and reasonably necessary for Buyer' (as well as
           any title attorney or examiner hired by Buyer) to verify the cure of such Title Defect.
           g.,yer shall, at or prior to two (2) Business Days after the end of the Cure Period, advise
           Selier in writing whether it agrees or (pursuant to a Title Dispute Notice, as described in
           Seclion 8Q)), or Disputes thãt any such Title Defecf has been so cured; provided that
           Buyer's fuiiu.. to timely respond to Seller's notice of cure shall be deemed Buyer's
           agrecment that such Titie Defect has been cured and Buyer's waiver of ìts Claim with
           rÃpect to such Title Defect. If Buyer timely notifies Seller of a Dispute as to Seller's
           attåmpted cure of any Title Defeci, then (subject to Section 8(h)), the provisions ol
           Section S(l) shall apply to suoh Title Defect.

                  (k)     Remedies for Title Defects. Sr"rbject to Seller's and Buyer's continuing
           right to'Dispute the exßGnce of a Title Defect and/or the Title Defect Amount asserted
           *ith ."rp..i thereto and subject to Section 8(g), in the event that any Title Defect timely
           asserted by Buyer in accordance with Section 8(d) is not waived in writing by Buyer
                                                                                                     or
           cured by Selleiprior to the end  of the Cure Period,  then Seller shall reduce the Purchase
           price by the Tìtle Defect Amount applicable to such Title Defèct and the Closing
           Statement and Final Closing Statement shall reflect such reduction.

           As to any Title Defect timely asserted by Buyer in accordance with Section 8(d) which
           remains uncut'ecl by Seller prior to the end of the Cure Period and for which a
           corresponding Title Defect Amount is inoluded in the Title Adjustment Amount at
           Closing (inclqding, for the avoidance of doubt, any Title Defect which Seller has chosen
           to dispute pursuant to Section 8(l)), Seller also shall retain the right, btrt not the
           obligaiion, ¡o attempt to cure each such TitleDefect after Closing at Seller's sole cost and
                       provided ihat Seller shall furnish notice to Buyer of Seller's belief that they
           "*pJn..;
           huì"          any such Title Defect (together with supporting documents available to Seller
                  "ur.eà
           and reasonably necessary for Buyer, as well as any title attorney or examiner hired by it,
           to verify the cr-rre of any such Title Defect), by no later l5 days prior to the Final Closing
           Statement Due Date. lf Buyer disagrees that the Title Defect has been cured, it shall so
           advise Seller in writing within five Business Days after receipt of Seller's notice as
           provided above, following which tlie provisions of Section 8(l) will apply to resolve such
           bispr"rte, and the Closing Statement Due Date shall be extended as to the disputed
           property only to the extent necessary to complete the Dispr"rte resolution procedure as
           proula.a forin Section 8(l). Should Buyer (A) fail to respond to Seller's notice of cure in
           such five Business Day periocl, then Buyer shall be deemed to lrave (i) agreed that the
           Title Defect has been cured and (ii) waived its Claim with respect to such Title Defect, or
            (B) agree that the Title l)efect has been cured, and then, in each case, the Title Defèct
            Amoùrt attributable thereto and included in the Title AdjLrstment Amount used to adjust
            rhe pr-rrchase Price at Closing shall be credited to Seller in the Final Closing Statement.




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                 (l)     Title Dispute.Resolution, If'prior to the Closing or, with lespect to the
          adeq.,ary of Seller's tiile Defect curative ¿ctions after Closing, alter the Closing,
                                                                                                  the
          parties are unabie to resolve any Title Disputed Matter, then either Party shall have the
          right, upon the delivery of written notice to the other Pafty within the time periods set
          foith inthis Agreemeni (each, a "Title Dispute Notice"), to Dispttte such Title Disputed
          Matter and to invoke the Dispute resolution provisions below in this Section B(i) in order
          to resolve any such Dispute. As used herein, the term "Title Disputed Matter" means a
          Dispute ..guiding any of the following: (w) the existence and scope of a Title Defect or
          Titlà Benefit; (xf any Title Defect Amount or Title Benefit Amount, as the case may be;
          (y) the Title A-djustment Amount, if any; and (z) the adequacy of Seller's Title Defect
          curative actions. As to any Dispute regarding the adeqtracy of Seller's Title Defect
          curative actions after Closing as provided for in Section B(k), the Final Closing Statement
          Due Date for the Title Defect Property involved shall be extended to the extent llecessary
          to complete the Dispute resolution procedure as provided for below in this Section 8(l).
          eny title Dispute Ñotice must be delivered on or before the second Business Day after
          the Cure periód exccpt with respect to Disputes relating to any of Seller's Title Defect
          curative actions condìcted post-Closing. Any Title Dispute Notice relating to any of
          Seller's Title Defect curative actions conducted post-Closing must be delivered within
          five (5) Business Days following Buyer's receipt of notice from Seller that it has cured
          the appticable Title Defect. In no event will Closing be delayed on account of any Title
          Dispùied Matter and, if the Title Defect Property affected thereby is transferred to Buyer
          at ilosing, the average of the Parties' respective good faith estimates of the Title Defect
          Amounts attributable to such Title Defect Property shall be used in the calculation and
          determination of the Title Adjustment Amount to be used at Closing.

                          (i)      The Parties shall attempt to resolve all Title Disputed Matters
                  through good faith negotiations for a period of f,tve (5) Business Days after the
                  delivãry ãf u titt" Di-pute Notice by either Party. Following such negotiation
                  period, if the Title Disputed Matter at issue retnains in Dispttte, stlch Title
                  bisputed Matter sliall be resolved pulsuant to this Seotion 8(l) and the Parties
                  shail mutr,rally appoint an independerlt expert having the qualifications specified
                  below (the "litle Defect Expert"). If the Parties are unable to mutually âgree
                  upon the Title Defect Expert, theu the Parties shall, within five (5) Business Days
                  after tìle expiration of such foregoing negotiation period, request that the
                  Bankrr-rptcy Court appoint the Title Defect Expert, The Title Defect Expert shall
                  be a licensed title attorney having a minimum of ten years'experience with regard
                  to the types of title defects affecting the Properlies involved in the Title Disputed
                  Matter, shall be without any conflicts of interest as to the Parties, and sball not
                  have been employe<1 by or undertaken more than $50,000 of work, in the
                    aggregate, for either Party or its Affiliates within the five year period preceding
                   the submission of the Dispute. For the avoidance of doubt, the Title Defect
                   Expert will function as an expert in accordance with the procedures set forlh in
                  this Section B(i), and not as arì arbitrator.

                          (ii)  Witliin ten (10) Business Days following the appointment of the
                  Title Defect Experl, Seller shall provide the Title Defect Experl with a copy of
                  this Agreement, and each Party shall provide, both to the Tillc Defect Expert and

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                   each other, a summary of its position with regard to each such outstanding Title
                   Disputed Matter in a written document of flive pages or less per Title Disputed
                   Matter. The Parties shall rnstruct the Title Defect Expert tltat, within 30 days after
                   receiving the Parties' respective submissions, the Title Defect Expert shall render
                   a write; decision. In rendering its decision, the Title Defect Expert shall not
                   award (l) a higher Title Defect Amount than the lower of (A) the Allocated Value
                   of the applicubl" P.op"tty or (B) the amount claimed by Buyer in its summaly, or
                   (2) a hìgher Title Éenefit Amount than the amount claimed by Seller in                 its
                   summary", (3) a lower Title Benefit Amount than the amount claimed by
                                                                                                 Buyer in
                   it, ,u¡11-uìy or (4) a lower Title Defect Amount than that amount claimed by
                   Seller in its summary, as applicable. The Title Defect Expert shall determine the
                   specific disputed ti[le peiect, Title Benefit, Title Defect Amount, Title Benefit
                   Amount, or the adequacy of Seller's Title Defect curative actions, as the case may
                                                                                                         to
                   be, submitted by eitirer Party and may not award damages, interest or penalties
                   either party witlh respect ro any other matter. Any decision rendered     by   the Title
                   Defect Expert pursuánt hereto .shall be final, conclusive, and binding on Seller and
                                                                                              jurisdiction
                   Buyer, anå *lù be enforceable against each Party in any court having
                   hereof, but is not reviewable by, or appealable to, any court except in the event
                                                                                                         of
                   fraud. The    parlies shall each bear one-half of the costs of the Title Defect  Expert
                   and ofany associated dispute resolution process and proceedings.

                           (iii) If the Title Defect Expert determines that a Title Defect did not
                    exist or that a Title Defect existed but was cured by Seller, then any Title Defect
                    Amount attributable thereto that was included in the Title Adjustment Amount
                    used at Closing, if any, shall be credited to Seller in the Final Closing Statement.

                           (iv) If the Title Defect Expert determiues     that a Title Defect exists, but
                    that the Title Defect Amount attributable thereto is a lesser amount than any Title
                    Defect Amount with respect thereto that was included in the Title Adjusttnent
                    Amount used at Closing, if any, then the dillerence thereof shall be credited to
                    Seller in the Final Closing Statement.

                            (u)    If  the Title Defect Expert determines that a Tìtle Defect exists,
                    surch Tiìle Defect has not been cured by Seller and the Title Defect Amount
                    attributable thereto is a greater amount than any Title Defect Amount with respect
                    thereto that was included in the Title Adjr-rstment Anrount used at Closing, if any,
                    then the difference thereof shall be credited to Bttyer in the Final Closing
                    Statement.

                            (vi) A¡y such adjr:stments to the amorrnt of the Purchase Price will be
                    reflected in the Final Closing Statement as applicable'

          g. Operations pendins Closin[. Seller shalì operate the Seller-Operated Oil and
      GasInterest'@ofcareimposedonthepartydefrnedasthe...operator''
      under the appìicable joint operating agreements uutil Closing, or such latel' time as
                                                                                      any
      applicable joint operating ugr""rn"nt may require, when such operatiott shall be turned over
                                                                                                   to'
      unà b."on . tlre responsiUifity of, Buyer. DLrring the period fiom the Execution   Date through


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     and i¡cluding the completion of the Closing, Seller shall     (i) consult with Buyer witb respect to
     all AFE's over Fifty T-housand Dollars ($50,000) net to     the  interests of Seller which is received
     by Seller. with respect to any Oil and Gas Interest, and consult with Buyer with respect to all
     material decisions to be macle with respect to the Property, inclucling the illcurring of costs for
     discretionary expenditures for operations in excess of Fifty Thousand Dollars ($50,000) net to
     the interest of Seller for which AFE's are rtot prepared, except as to the operations described in
     Schedule 9, which Seller rnay conduct without consulting with Buyer, (ii) operate the Seller-
     Operated Property after the filing of Seller's petition in bankruptcy in accordance with the terms
                                                                           including making all post-filing
                             -when contracts, laws, and regulations,
     and conditions of all applicable
     bankruptcy payments            due of any payments required and performing the Contracts in
     accordånce with their terms, and (iii) not transfer, sell, hypothecate, encumber, abandon, or
     otherwise dispose of any material portion of the Oil and Gas Interests (other than the sale of
     Hydrocarbons in the ordinary course of business or as required in connection with the exercise of
     thlrd parties of preferential rights to purchase any of the Oil and Gas Interests) without the
     written consent of Buyer.

             10.       Conditions to Oblisations of Both Parties. The obligations of each Party to
      consummate the transactions contemplated by this Agreement shall be subject to the fi'rlfìllment,
      at or plior to the Closing, of each of the following conditions:

                     (a)   Neither the Bankruptcy Court nor any other Govemmental Authority shall
             have enacted, issued, prornulgated, enforced or entered any order, decree or ruling or
             taken any other action which is in effect and has the effect of making the transactions
             contempiated    by this    Agreement illegal, otherwise restraining            or    plohibiting
             consummation of such tratrsactions or causing any of the transactions contemplated
             hereunder tcl be t'escinded lbllowing colrrpletion thereof.

                     (b)    Except f-or sLrch consents and approvals of transfer of the Leases, Units,
             Permits, Easements and Surface Rights as are customarily obtained from Goverulnental
             Authorities subsequent to a sale or transfer, the Parties shall have received all consents,
             authorizations, orders ancl approvals from Governtnental Authorities that are required in
             connection with the consummation of the transactions contemplated by this Agreement,
             in each case, in form and substance reasonably satisfactory to the Buyer and the Seller,
             and no such consent, authorization, order and approval shall have been revoked.

             11.     Conditions ol Closine bv Seller. The obligation of Seller to constLmmate the
      transaction contemplated hereunder is subject to the satisfaction of the following conditions:

                     (a)    the representations and warranties of Buyer contained in Section 6 are trtte
             and correct in all material respects on and as of the Closing Date, and all covenants and
             agreements hereunder to be performed by Buyer at or prior to the Closing have been
             performed and satisfied in all material respects;

                     (b)   adjgsrments to the Base Purchase Price under Sections 8 and 13(b) shall
             not have exceecled ten percent (10%) of the Base Purchase Pricc;




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                   (c)    ullless waived by Buyer and Seller in each such Party's sole discretion, the
            Sale Order shall have become a Final Order;

                   (d)     as   of the Closing Date, no Action is pending or  threatened before any
            Governmental Authority or any coufi seeking to restrain,  prohibit, or declare illegal, or
            seeking substantial damages in connection with, the transaction that is the subject of this
            Agreement; and

                   (e)     as  of the Closing Date, Buyer shall have obtained and filed with applicable
            Govet.nmental Authority in the name of Buyer, replacements for Seller's and or its
            Affiliates, bonds, letters of credit and guarantees relating to the Properly posted by Seller
            or its Affiliates with such Governmental Authority.

            12.     Contlitions of Closins by Buver. The obligation of Buyer to consummate the
     transaction contemplated hereunder is subject to the satisfaction of the following conditions:

                    (a)   the r-epresentations and warranties of Seller contained in Section 5 are true
            and correct on and as of the Closing Date, except where the failure of such matter to be
       ,    true and accurate,if any, would not have a Material Adverse Effect and all covenants and
            agreements hereunder to be performed by Seller at or prior to the Closing have been
            performed and satisfied in all material respects;

                    (b)   as of the Closing Date, no Action is pending or threatened before any
            Governmental Authority seeking to restrain, prohibit, or declare illegal, or seeking
            substa¡tial damages in connection with, the transaction that is the subject of this
            Agreement;

                    (")    unless waived by Buyer and Seller in each such Party's sole discretion,
            the Sale Order shall have become a Final Order; and

                    (d)  for any Property subject to Preferential Purchase Rights, those rights have
            been waived by the holders of the Preferential Purchase Rights, or exercised, and if
            exercised, the Purchase Price has been adjusted pursuant to Sectionl 3(e).

            13.     Purchase Price Adiustments.

                    (a)      Notice of Casualt), Losses and Government Takings, If, prior to the
            Closing Date, all or paft of the Property is darnaged or destroyed by fire, flood, storm, or
            other áccident ("Casualty Loss"), or is taken in condemnatiou or under the right of
            eminent domain, or if proceedings for such purposes shall be pending or threatened
            ("Government Taking"), Seller must promptly notify Buyer in writing of the nature and
            extent of the Casualty Loss or Government Taking and Seller's estimate of the cost
            reqr.rired to repair or replace that porlion of the Property affected by the Casualty Loss or
            value of tlre Prope¡ty taken by the Government Taking. Notwithstanding the foregoing,
            no individual matter descrìbed above sliall be deemed to be or constitute a CasLralty Loss
            or a Coventment Taking unless the estimate of the cost required to repair or t'eplace that
            portion of the Property affected by the Casualty Loss ot' value of the Property taken by


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           rlre Government Taking for such matter exceeds Fifty Thousand Dollars ($50,000), net to
           Seller's interest in the affected portion of the Property.
                                                                                         'With
                  (b)                                                                            respect to
           each Casua Ity Loss to or Government Taking of the Property, Seller and Buyer         will   have
           the following rights and remedies:

                         (i)     If the agreed cost to repair or replace the portion of the Propefiy
                  affected 6y the Casuafty Loss or the agreed value of the Property taken in any
                  Government Taking is less than One Hundred Thousand Dollars ($100,000), the
                  purchase Price wili be adjusted by the agreed cost of the Casualty Loss ot' the
                  agreed value of the Property taken by the Govemment Taking, and the Parties will
                  proceed with Closing.

                          (ii)   If the agreed cost to repair or replace the portion of the Propetty
                  affected by the Casualty Loss or the agreed value of the Property taken in any
                  (ìovernment 'ì'aking equals or exceeds One Hundred Thorrsand Dollars
                  ($100,000), rhe Parties will proceed with Closing and Seller shall elect by written
                  notice to Buyer prior to Clòsing either (A) to adjust the Purchase Price by the
                  agreed cost of the Casualty Loss or the agreed value of the Property takeu in any
                  Government Taking, or (B) to cause the portion of tlie Property affected by the
                  Casualty Loss to be repaired or replaced, at Seller's cost, as promptly as
                  ."uronubly practicable (which work may extend aftel the Closing Date). In the
                  event that any Property is repaired or replaced by Seller under clause (B) and the
                  repaired or ieplaced Property is newer than the Property that was damaged,
                  destroyed or taken, or otherwise represents an upgrade from the Property that was
                  darnaged, destroyed or taken, Buyer shall bear the portion of the cost of repair or
                  replaciment attributable to the reduction in age or increase in quality'

                   (c) Insurance Proceeds and Settlement Payments. In each case under subparts
           (i) and iii¡ of S""tlon l3(b), Seller will be entitled to (i) all insurance proceeds with
           iespect to any such Casualty Loss, (ii) all sums paid to Seller or Buyer bythird parties by
           1..uion of any such Casualty Loss, and (iii) all compensation paid to Seller or Buyer with
           respect to any such Government Taking'

                   (d)    Chanee in Condition,    If Closing occlìrs, Buyer will assume all risk of loss
           with respect to, '*¿ uny change of condition of the Propefty, including production of
           Hydrocaìbons through normal depletion, the watering-out, casing collapse or sand
           infiltration of a¡y *"11, th" depreciation of personal property through ordinary wear and
           tear, and changes arising from operations conducted by Seller pLrrsuant to Section 9.
           None of the events or conditions set forlh in this Section l3(d) will be considcred a
           Casualty Loss with respect to the Propefty, nor will they be cause for any other reduction
           in the Base Purchase Price, or give rise to any right to terminate this Agreement.

                   (")    preferential Purchase Riehts, Seller shall prornptly give notices to third
           parties holding any Preferential Purchase Right known to Seller or identified to Scller by
           buy.. prior to Closing. Seller shall use all reasonable efforts, bL¡t withor-rt oblrgation to

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          incur any unreasonable cost ol expellse, to obtain waivers of, or to comply with, atly such
          prefer.ential Purchase Right prior to Closing. If a Preferential Purchase Right is exercisecl
          prior to Closing, the Base Pirrchase Price shall be reduced by the amount allocated to the
          affectecl Oil and Gas l¡terests in Exhibit F, and Seller shall convey the affected Oil and
          Gas Interests to the holcler of such right and be entitled to all amounts paid by such
          holder. If, as of the Closing, there is a Preferential Purchase Right f'or which the time to
          exercise has not expired and the third-party holder thereof has neither exercised nor
          waived its right, then the affected Oil and Gas Interest shall be conveyed to Buyer at
          Closing without adjustment to the Base Purchase Price, and if such Preferential Purchase
          Right ii exercised after Closing, Buyer shall convey the affected Oil and Gas lnterests to
          the holder of such right and be entitled to all amounts paid by such holder.

                 (Ð        Consents. Seller shall promptly give notices to all third parties holding
          any Scheãuled Consents or any other consent known to Seller or identified to Seller by
          Buyer prior to Closing which could reasonably render the transfer of Property to Buyer
          uoi¿ oi voidable. Seller shall use all reasonable efforts, but without obligation to itrcur
          any unreasonable cost or expense, to obtain any such consents. Upon Seller's request,
          euyer will provide such information regarding Buyer and its operations and financial
          .oridition ur S"ll". reasonably believes to be necessary or appropriate to obtain any such
          co¡sents. Any such consent waived by Buyer shall be deemed a Permitted Encumbrance,
          Unless waiveâ by Buyer, if Seller fails to receive prior to Closing any consent (other than
          consents of Governmental Authorities customarily obtained subsequent to a sale or
          transfer) containing terms that expressly provide that an assignment without consent will
          terminate the Lease or render the assignment void or voidable (each a "Hard Consent"),
          then A) the Parties shall proceed with the Closing with respect to all of the Properties
          (including theportions of the Properties affected by Hard Consents), and (B) Buyer shall
          iNoevñmy, DEFEND AND HOLD SELLER HARMLESS from all claims arising
          out of or restrlting from such unobtained Hard Consents.

           14.    Bankrun       Matters

                  (a)     Break-up Þ'ee. subject to approval of the Bankluptcy court, In
           consideration for Buyer having expended considerable time and expense in connectioll
           with this Agreement and the negotiation hereof, and to compensate Buyer for serving as a
           stalking-hoise bidder and providing value to Seller's bankruptcy estate, in accordance
           with and subject to the conditions and findings set forth in the Bid Plocedttres Order,
           Buyer shall be entitled to a termination fee equal to four percenr (4%) of the Basc
           PLrichase Price (such amount, the "Break-Up Fee") and the reimbursemetrt of the actr'ral
           amount of Buyer's transaction expenses up to an aggregate amount of $100,000 (the
           "Reimbursement"). The Break-Up Fee and tlie Reimbr-rrsement shall be payable by Seller
           upon the conditions set forth in Section 25.

                  (b)     Court Approval, The Parties acknowledge and agt'ee that the transactions
           contemplated her.ein between Seller and Buyer with respect to the Assets are subject to
           the BankrLrptcy Court entering the Bid Procedures Order and the Sale Order in form and
           substance acceptable in all respects to the Parties'



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                  (c)     Certain Bankruptcy Undertakings. Seller (subject to Section l4(d) below,
           the BanlrLrptcy Code, any BankrLrptcy Court Orders and any other restrictions on Seller'
           by virtge oitnã1n being debtors in bankruptcy) and Buyel each agree to use commercially
           réasonable efforts to ào such further acts and things and to execute and deliver such
           additional agreements and instruments as lnay reasonably be required to consummate,
           evidence,          or obtain the Bankruptcy Court approval of the Bid Procedures Order,
                     "onf,r-,
           and, subject to Buyer's offer being the highest or otherwise best offer as determined in
           accordance with the Bid Procedures Order at the conclusion of the Sale Process, approval
           of the Sale Order, the sale of the Property, the assumption andlor assignmetrt of the
           Assigned Contracts, or any other agreement contemplated hereby and the consummation
           of the transactions contemplated liereby. In furtherance of the foregoing but subject to
           any changes imposed by the Bankruptcy Court, the Parties hereby agree as follows:

                            (i) No later than August ll,2Ol7, Seller will file the Bankruptcy Case
                  with the Bankruptcy Court.

                            (ii)    Seller shall file the Bid Procedures Motion no later than August I l,
                  201',7.

                            (iii)    least five (5) Business Days, prior to the filing by Seller of the
                                    At
                  motion seeking entry of the Bid Procedures Order and the Sale Older, Seller will
                  (i) provide u .ãpy thereof to Buyer and its counsel and (ii) provide Buyer and its
                  counsel a reasonable opporlunity to review and comment on such document, and
                  any amendment or supplement thereto. Such motion shall, in all material respects,
                  be consistent with the terms of this Agreement.

                          (iu) Seller shall have obtained a final bankruptcy court order approving
                  the Bid Procedures Motion by no later than September 1,2011 .

                            (v)  Seller shall have obtained a Final Order approving the Sale Order
                  approving this transaction not later than September 25,201'7.

                  (d)     Notwithstanding anything to the contrary set forth in this Agreement, this
           Agreement is subject to approval by the Bankruptcy Court and the consideration by
           Seller and the Bankruptcy Court of higher or better competing bids with respect to an
           Alternative Transaction. Nothing contained herein shall be construed to prohibit Seller
           and its Representatives from soliciting, considering, negotiating, agreeing to, ot' othetwise
           taking action in furtherance of any such Altemative Transaction, subject to the terms and
           conditions of the Bid Procedures Order, including the Break-Up Fee and the
           Iì.einrbursement. Seller and Buyer further acknowledge that, to obtain Bankluptcy CoLrrt
           approval of the transactions contemplated herein, Seller must'demonstrate that they have
           tàken reasonable steps to obtain the highest or otherwise best offer possible for the
           Assets, and that such demonstratiot-r shall inclilde giving notice of the transactiotrs
           contenrplated by this Agreement to creditors and other interested parties as ordered by the
           Bankruptcy Court, and, if required under the Bid Procedltres Order, conductittg an
           auction (the "Auction").



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                    (e)  Except as required by the BankrLrptcy Code, Bankruptcy Cottrt, and/ol'the
            Bid Procedules Order or as a response to an objection to the Bid Procedures Order ancl
            the Sale Order, Buyer     will not frle   any pleading or take any other action in the
            Bankruptcy Court with respect to this Agreement or the consrtmmation of the transactions
            contem¡laied hereby that is inconsistellt with performing and carying out the provisions
            of this Agreernent in accordance with the terms ancl subject to the conditions herein.
            Nothing in this Agreement shall prohibit Buyer from contacts with any creditors of the
            Debtors or representatives of any conrmittee of unsecured creditors or the United States
            Trustee or responding to inquiries about the Buyer or appearirlg in Courl in connection
            with the hearings on the Bid Procedures Order or the Sale Order,

                    (Ð     Certain Sale Order Matters. Buyer agrees that it will promptly take such
            actions as are reasonably requested by Seller to assist in obtaining entry of the Sale
            Order, including providing such assurances as the BankrLrptcy Cor:rt may require as a
            condition to making a finding of adequate assurance of future performance by Buyer,
            including furnishing affidavits or other documents or information for filing with the
            Bankrupicy Court for the purposes, anlong otlters, of providing the required assurances ot'
            performanôe by Buyer under this Agreement and demonstrating that Buyer is a "good
            faith" Buyer under Section 363(m) of the Bankrr.rptcy Code and that the Purchase Price
            was not controlled by an agreement in violation of Section 363(n) of the Bankruptcy
            Code.

            15.     Closine. Subject to the satisfaction or waiver of the conditions to Closing set
     forth in Sections 10 and l1 above, the Closing shall be held on or before fifteen (15) Business
     Days after the Sale Order has been entered by the Bankruptcy Court at the offices of Lindquist &
     Vennum LLP,600 lTth Street, Suite lB00 South, Denver, CO 80202 or at such other time and
     place as Seller and Buyer may mr.rtually agree in writing (the "Closing" or "Closing Date").

             16.    Transactions at Closinq. The following actions shall occur at Closing:

                    (a)   Seller shall execute, acklowledge, and deliver to Buyer the instrument of
            conveyance in the form as set fofth in Exhibit G conveying the Property;

                    (b)     Seller and Buyer shall execLrte ancl deliver       apreliminary Closing
            Statement that shall set forth the Base Purchase Price, each adjustment to Base Purchase
            Price under this Agreelnent, and the calculation of such adjustments used to determine
            such amount under this Agreement, and the frnal Purcbase Price, in the form as set forth
            in Exhibit H;

                    (c)     Seller and Br:yer shall execute, ackrtowledge, and deliver mutually
            agreeable transfer orders or letters-in-lieu prepared by the Buyer, directing all purchasers
            oi production to make future paymerits of pt'oceeds attribLltable to production flom the
            Property to BLrYer;

                    (d)    Seller shall deltver to Buyer a "non-foreign person" affidavit that complies
             with section 1445 of the Code in the form as set forth in Exhibit I;



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                  (e)      Buyer shall deliver to Seller a certificate stating that the representations
           and warranties of Buyer contained in Section 6 are true and correct, in all material
           respects, as of the Cloiing Date, and that Buyer ltas performed, in all material aspects, all
           covenants and agreements to be perforured by Br-ryer hcreunder at or prior to Closing;

                  (Ð       Seller shall deliver to Buyer a certificate stating that the representations
           and war.ranties of Sellel contained in Section 5 are true and corect, in all material
           respects, as of the Closing Date, and that Seller have performed, in all material aspects,
           all covenants and agreements to be perfonned by Seller hereunder at or prior to Closìng;

                   (g)  Buyer shall deliver to Sellel' a complete copy of Buyer's environmental
           assessment of the Property, including, but not lirnited to, reports, data, valuation,
           assessments, and conclusions;

                   (h)     Seller shall deliver to the Buyer a certified copy of the Sale Order,
           together with a docket sheet for the BankrLrptcy Case as of the Closing Date'

                   (i)    Seller shall deliver to Buyer possession of the Property, subject to any
           applicable operating agreements or other related agreenrents affecting the Property; and

                   û)     Buyer shall deliver to Seller cash by wire transfer in the amount of the
           Purchasã Price, less the Deposit to alr accollnt designated in writing by Seller.

           11.     Post-Closinq Adiustments; Deliverv of Records'

                   (a)     Final Closing State¡nent. As soon as practicable after the Closing, but in
           no event later than 120 days after Closing except as may be otherwise expressly provided
           herein, (the "Final Closing Statement DLre Date"), Buyer will cause to be prepared and
           delivered to Seller, in aicordance with GAAP and customary industry accounting
           practices, a settlement statement setting fbrth each adjustment to the Pulchase Price in
           ãccordance with Sections 8, l3 and l9 and showìng the calcr"rlatiorl of such adjustments
           and the resulting final purchase price (the "Final Purchase Price" and such statement, the
           "Final Closing Statemént"). Within thirty (30) days after its rcceipt of the Final Closing
           St"t.-.rt, Seller shall deliver to Buyer a written report contatning any changes that
           Seller. proposes to make to the Final Closing Statement. Seller's failure to deliver to
           Buyer à *rltt.n report detailing proposed changes to the Final Closing Statement by sr"rch
           datã shall be deemed to be an acceptance by Seller of the Final Closing Statement
           delìvered by Buyer. The Palties shall endeavor to agree irr writirig with respect to the
           changes proposed by Seller, ifany, by no later than thirty (30) days after Seller's receipt
           of Buyerìs propos.ã Final Closing Statement. Should the Pafties fail to agree on the
           Final ôlosing Statement and Final Purchase Price by such date, either Party may invoke
           the DispLrte rcsolution procedures provided for in Section 35. The date upon which such
           agreemènt is reached or Lìpou which the Final Purchase Price is determined pursuant to
           Séction 35 sliall be herein called the "Final Closing Date". lf sltch agreed or determined
           Final Purchase Price is more than the Purchase Plice paid pursuant to Section l6(h),
           Br.ryer shall pay to Seller the amount of sucb difference by wire transfer in imniediately
           uuuilubl. fgnds no later than five Business Days after the Final Closing Date' If such

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           agreed or determiued Final Purchase Price is Iess than thc Purchase Price paid pttrsuant to
           Sãction 16(li), Seller shall pay the amount of such difTerence to Buyer by wire tl'ansfet'in
           immediately available funds no later than five Business Days after the Final Closing
           Date.

                   (b)      Deliverv of Records. No later than ten (10) Business Days after Closing,
           Seller shall cleliver to Buyer the Records (and Seller shall retain copies of the Records).

           18.     Taxes and Suspended Funds.

                   (a)    Taxes. All Taxes, other than Transfer Taxes, and similar obligations with
           respect to the tax period in which the Effective Date occurs (the "current tax.period")
           shá1l be apportioned between Seller and Buyer as of the Effective Date based or1 an
           estimate of the imrnediately preceding tax period assessment and prorating such Taxes on
           a per diem basis, and the Purchase Price shall be reduced at Closing by the amount of
           suih estimated Taxes owed by Seller for that portion of the curent tax period prior to the
           Effective Dare. Buyer shall be liable and shall indemnify Seller for all Taxes attributable
           to Property, other than Transfer Taxes, fol the portion of the current tax period after the
           Effective Date as well as any and a1l tax periods beginning ou or after the Effective Date,

                   (b)     Transfer Taxes. It is the reasonable anticipation of the Parties that the
           transactions to occLtr pursuant to this Agreement, including the transfer of tlie Property,
           shall not give rise to any transfer, documentary, saies, use, stamp, registration and other
           similar Tãxes and fees arising out of or in cot.utection with the transactions effected
           pltrsuant to this Agreement (the "Transfer Taxes"), bttt to the extent there are any
           1'ransfer Taxes attribLrtable to the consummation of the transactions under this
           Agreement, such Transfer Taxes shall be paid by the Buyer. Any Transfer Tax inclusive
           ofuny penalty and interest, assessed at a future date against the Parties with respect to the
           transaciions covered herein shall be paid by the Buyer, or if paid by the Seller shall be
           prornptly reimbursed by the Buyer. Seller and Buyer shall reasonably cooperate to
           mitigàte, reduce or eliminate any Taxes referred to in this Section 18(b), and to use
           reasonable efforts to obtain any certificate or other docltments from any Governmental
           Authority as may be possible to ntitigate, reduce or eliminate any such Transfer Taxes.
           Forthe avoidauce of doubt, "TransferTaxes" shall not include any federal, state and local
           income and gaitr Taxes resr.rlting fi'om the transactions hereunder.

                   (c)    Suspense Accounts. At Closing, the Purchase Price shall be decreased by
           an amount equal to all funds reqr-rired to be held in suspense by Seller related to proceeds
           of production, whether or not actLrally held in a separate accotlnt by Seller, and auy
           rebates of severance taxes aud attributable to the interests of third parties in the Leases or
           lands pooled    or unitized therewith, including funds    suspended awaiting minimum
           disbursement requirements, funds sLrspended under divisi<ltt orders, and furids suspended
           for title and other defects (the "suspended Funds") and the Parties shall cause such
           amounts to be rellected olt the Flnal Closing Statement. After Closing, Buyer shall
           ass¡me all liability related to the anrount of the SLrspended Futtds, administer all such
           accoltnts and assunre all payment obligations to the proper parties witb respect to the



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           SLrspended Funds in accordance     with the terms of the Leases and all applicable laws,
           rules, and regulations.

           19.       Proceeds and Expenses.

                     (a)  proceeds Prior to Effective Date. AII proceeds, including proceeds held in
           suspense or escrow und pro*"ds received after the Effective Date for oil
                                                                                         produced and
                                                                                   Date, attributable to
           helà in storage on the Låases but not sôld on or after the Effective
           the properry ãnd accruing to the period prior to the Effèctive I)ate (including  outstanding
           u..ouni, receivable attributable to the period prior to the Effective Date) shall belong to
           Seller,

                   (b)                                               All proceeds attributable to the
           Property and accruing to the period on and after the Effective  Date shall belong to Buyer,
           If Seller has received proceeds belonging to Buyer    after the Effective Date, Seller will
           account to Buyer in writing for such proceeds at the same     price Seller received fol the
           pro duction in accordance with its existing product purchase antl sale contracts. In
           addition, there is excepted, reserved, and excluded fì-orn the Property any and all rights
           and claims for reimbursement, recovery, or recoupment b y any lawful means of PaYments
           for any royalties, overriding royalties, or other payments from production arising from or
                                                                                                    (or
           attributable to the Property prior to the Effective Date that were tendered by Seller
           any of its affiliated oi subiidiury companies) to     and accepted  by  any  lessor, mineral
           o*n".' or otherparly (collectively,..Rovalt)¡ owners,') that are in excess of the amount of
           royaltíes, ouerriàing ¡oyalties, or other payments fronr production, if any, actually due
                                                                                                     or
           o*ing to such Royãtty-Owners prior to the Effective Date. If Buyer becomes aware of
           any s,.:rch payments, nuyer shall promptly notify Seller and shall cooperate with Seller
                                                                                                     in
           Seller's effolts in respect of such paymellts.

                     (c) Expenses. Solely with regald to calculating the Closing Statement and tire
           Final Ciosing Statement, and not otherwise, (i) Seller shall be entitled to be reimbursed
           by Buyer foi any costs and expenses paid by Seller with respect to the Property for any
           páriod'after the Effective Date and attributable to the ownership ol operation of the
           Þroperty on or after the Effective Date, and (ii) Buyet' shall be entitled to be reimbursed
           by Sellêr for any costs and expenses paid by Br-ryer with respect to the Property for any
           pãriod prior to ihe Effective óate and attributable to the ownership or operation of the
           Property prior to the Effective Date'

                     (d)  Overhead Expenses. With regarcl to the Property which is jointly owned
           and operáted bV Seiler, Seiler' (i) shall retain overhead charges and rates received by
           Seller o[ its Affiliates in their capacity as "Operator" under the applicable operating
           agreement or. COPAS accor-rnting procedure attributable to any jointly owned Leases
           tlirough the en¿ of the month in which Closing and/or transfer of operations occurs)
           whichever is later and (ii) shall be entitled to receive, with respect to periods between the
           Effective l)ate and Closing, an overhead charge relating to sttch Property under the
           applicable operating agreen.ìellts that woLrld be chargeable, as Operator, if owned by a
           ntn-operati¡g, thi¡d--pa¡ty working interest owner. Seller shall retain (i) and (ii) assumittg


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           the Seller has made all post bankruptcy fìlings to rcspective parties for Property jointly
           owned and operated by Seller.

           20.    Assum         of Oblisations anrl Indemnities of Ruver.

                  (a)    Assumption by Buver. Except to the extent discharged by the Sale Order
           and the conveyauce of Seller's assets to Buyer thereunder Free and Clear (except for
           permitted Encumbrances ancl Buyer's Assumed Obligations), upon and after Closing,
           Buyer will assume, perform, pay, and perform all obligations, liabilities and duties with
           respect to ownership and (if applicable) operalion of the Property, arising on or after the
           Effective Date, anà all obligations arising under the Assumed Contracts (excluding
           Seller's obligatiols to pay Cure Costs) and those obligations expressly assumed or
           required to be performed by Buyer under this Agreement (collectively, the "Buver's
           Asiumed Obligations"). Without limiting the generality of the foregoing and. except to
           the extent discharged by the Sale Order and conveyance of Seller's assets to Buyer
           thereunder Free and Clear (except for Buyer's Assumed Obligations), Buyer's Assumed
           Obligations shall also specitically include the following obligations arising after the
           Effective Date: (i) to pay arrd deliver royalties, oveniding royalties, non-parlicipating
           royalties, and other burdens on production, (ii) any obligations in connection with or
           arising out of balalcing of overproduction or underproduction from the Property, (iii) to
           take ãll actions and perform all obligations necessary to cornply with all laws and
           governmental regulations with respect to the Property, including the lawful pluggirig and
           ãbandonment of oil and gas wells and the restoration of the surface of the land, or any
           govertmental request or other requirement to abandon any pipeline or facility or take any
           ðl"un-.rp, remedial, or other action with respect to the Property, (iv) to dismantle or
           decommission and remove any personal property used with respect to the Property and
           other property of whatever kind related to or associated wjth operations and activities
           conducteá by whomever on the Propefiy, (v) to perform all obligations applicable to or
           imposed on the lessee, owner or operator under the Leases and any applicable contracts,
           or às reqgired by any law, and (vi) to perform all obligations related to administration and
           puy*rni of the Suspen<led Funds. WithoLrt lirnitation of the foregoing or Buyer's rights
           ¡nãer this Agreement, Buyer shall not assume any obligatious and liabilities or alleged or
           threatened liabilities and obligations of Seller for any violation of Environmental Laws
           with respect to the Property which are related to occurrences prior to the Effective Date,

                   (b)      Btryer's Indemnitv. From and after Closing, subject to the provisions of
           this Agreement, Buyer shall, to the fullest extent permitted by law, PROTECT'
           DEFEÑD, INDEMNIFY, AND HOLD HARMLESS Sellel and its Affiliates, and the
           mauagers, directors, officers, employees, agents, and representatives of each of them
           (colleitively, the "seller Parlies") from and against any and all Claims attribr"rtable to or
           àrising outãf the following; (i) the Lrse, ownership, or operation of the Property, relating
           to perìods of time after the Effective Date, (ii) Buyer''s assumption of any obligation or
           liability contained in this Section 20, (iii) the breach by Buyer of any of its
           represéntations in Section 6, and (iv) the bleach by Br"ryer of any of its agreelnents and
           covel'ìants in this Agreemenl.




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                 (")         witli                   TI_IE INDEMNIFICATION,
           WAIVER, RELEASE, AND ASSUMPTION PROVISIONS OF BUYER IN THIS
           AGREEMENT, INCLUDIN G THOSE IN THIS SECTION 20 AND SECTION 21
           BELOW, SHALL BE APPLI CABLE \ryHBTHER OR NOT THE CLAIMS IN
                                                    'THE ACTIVE, PASSIVE,
           QUESTION AROSE SOLELY OR IN PART FROM
           COMPARATIVE, CONTRIBUTORY' coNcuRRENT, SOLE OR JOINT
           NEGLIGENCE, STRICT LIABILITY OR OTHER FAULT OF ANY OF THE
           SELLER PARTIES OR ANY OTHER PERSON; EXCEPT FOR CLAIMS
           ARISING FROM SELLER PARTIES' GROSS NEGLIGENT ACT OR WILLFUL
           MISCONDUCT.

           2I.    DISCLAIMERS AND WAIVERS.

                  (a) Title waiver. EXCEPT AS EXPRESSLY PROVIDED HEREIN, THE
           PROPERTY SHALL BE CONVEYED AND TRANSFERRED WITHOUT ANY
           REPRESENTATION, WARRANTY, OR COVENANT OF TITLE OF ANY KIND OR
           NATURE, EITHER EXPRESS, IMPLIED, OR STATUTORY'

                  (b) No Reliance.         Buyer has reviewed and has access to all contracts,
           documents, recãrds, and information which it has desired to review in connection with its
           decision to enter into this Agleement, and to consuntmate the transactions contemplated
           hereby. Buyer has not relied upon any representation, warranty, statement, advice,
           document, projection, or other information of any type provided by Seller, or its
           Affiliates, ór *y of their representatives, except for those expressly set forth in .this
           Agreement. In dlciding to enter into this Agreement, and to collsummate the transactions
           coltemplated hereby, Bìyer has relied solely upon its own knowledge, investigation, and
           analysii (and that of its representatives and advisers) and not on any disclosure or'
           reprósentation made by, or any duty to disclose on the part of, Seller or its Affiliates, ol'
           any of their representátives or advisers, other than the representations and warranties of
           Seller expressly set forth in this Agreement'

                  (")      Limited Duties. Any and all duties and obligations which either Party
           may have to the other Party with respect to or in connection with the Property, this
           Agieement, or the transactions contemplated hereby are limited to those in this
           Agreement. The Parties do not intend (i) that the duties or obligations of either Party, or
           thã rights of either Party, shall be expanded beyond the terms of this Agreement on the
           basis ãf any legal or equitable principle or on any other basis whatsoever or (ii) that any
           eqLritable o¡ legal principle or any implied obligation of good faith or fair dealing or any
           other matter requires either Party to incur, suffer, or perform any act, condition, or
           obligation contrary to the terms of this Agreement and that it woLrld be unfair, and that
           t¡ey clo not ìntend, to increase any of the obligations of any Parly trnder this Agreement
           on the basis of any implied obligation or othet'wise.

                   (d)    Defects. EXCEPT AS EXPRESSLY PROVIDED HEREIN,                                  THE
           PROPERTY IS BEING CONVEYED AND ASSIGNED TO AND ACCEPTED BY
           BUYER IN ITS "AS IS, V/HERE IS'' CONDITION AND STATE OF REPA]R, AND
           WITH ALL FAULTS AND DEFECTS, WITHOUT ANY REPRESENTATION,

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           WARRANTY, OR COVENANT OF ANY KIND OR NATUIìE, EXPRESS, IMPLIED,
           OR STATUTORY, INCLUDING, BUT NOT LIMITED TO, WARRANTIES OF
           MARKETABILITY, QUALITY, CONDITION, CONFORMITY TO SAMPLES,
           MERCHANTABILITY, AND/OR FITNESS FOR A PART1CULAR PURPOSE, ALL
           OF WHICH ARE EXPRESSLY DISCLAIMED BY SELLER AND WAIVED BY
           BUYER. BUYER RECOGNIZES THAT THE PROPERTY HAS BEEN USED FOR
           OIL AND GAS DRILLING,      PRODUCTION, GATHERING, PIPELINE,
           TRANSPORTATION, STORAGE, AND RELATED OPERATIONS. PHYSICAL
           CHANGES IN THE PROPERTY AND IN THE LANDS BURDENED THEREBY
           MAY HAVE OCCURRED AS A RESULT OF SUCH I]SES. THE PROPERTY ALSO
           MAY INCLUDE BURIED PIPELINES AND OTFIER EQUIPMENT, THE
           LOCATiONS OF WHICH MAY NOT BE KNOWN BY SELLER OR READILY
           APPARENT BY A PHYSICAL INSPECTION OF THE PROPERTY. IT IS
           TINDERSTOOD AND AGREED THA]'BUYER SHALL HAVE INSPECTED PRIOR
           TO CLOSING (OR SHALL BE DEEMED TO FIAVE WAIVED ITS RTGHT TO
           TNSPECT) THE LEASES, EQUIPMENT, PIPELINES, AND THE ASSOCIATED
           PREMISES AND SATISFIED ITSELF AS TO THEIR PHYSICAL AND
           ENVIRONMENTAL CONDITION, BOTH SURFACE AND SUBSI]RFACE, AND
           THAT BUYER SHALL ACCEPT ALL OF THE SAME IN THEIR "AS IS, WHERE
           IS" CONDITION AND STATE OF REPAIR, AND WITH ALL FAULTS AND
           DEFECTS, INCLUDING, BUT NOT LIMITED TO, THE PRESENCE OF
           NATURALLY OCCURRING RADIOACTIVE MA'I'ERIAL AND MAN-MADE
           MATERIAL FIBERS.

                  (")      Records Disclaimer. Seller makes no t'epresentation, covenant. or
           warranty, express, implied, or statutory, aS to the accuracy or completeness of any data or
           records delivered to Buyer with respect to the Property, or concerning the qr"rality or
           quantity of Hydrocarbon reserves, if any, attributable to the Property, or the ability of the
           Érop"tiy to produce Hydrocarbons, or the product prices which Buyer is or will be
           entitled to receive fi'om the sale of atry sttch Hydrocarbons,

                   (Ð      Environmental'Waiver and Release. From and after Closing, Buyer does
           hereby agree, warrant, and covenant to release, acqttit, ancl forever discharge Seller and
           all Sejleiparties from any and all Claims, including all claims, demands, and causcs of
           action for contribution and indemnity under statute or common law, which could be
           asselted now or in the future relating to or arising out of environmental matters or
           liabilities and related to the Property, including any and all Claims attributable to or
           arising out of a violation of any Environmental Law, Fronr and after Closing, Bt'tyer
           warrants, agrees, and covenants not to sue or institute arbitration against Sellel or any
           Seller Parties upon any claim, demand, or cause of action for indemnity and contribr.ttion
           that liave been asserted or could be asserted for any such envirolrmenlal lnatters or
           liabilities.

                   (g)consequentialDamageswaiver. NOTWITHSTANDING ANYTHING
           TO THE CONTRARY IN THIS AGREEMENT, NE]THER PARTY SHALL BE
           LIABLE TO THE OTHER PARTY FOR ANY EXEMPLARY, PLTNIT]VE, SPECIAL'
           INDIRECT, CONSEQUENTIAL, REMOTE, OR SPECULATIVE DAMAGES

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            ARISING OUT OF OR RELATING TO, IN ANY MANNER, THIS AGREEMENT,
            THE TRANSACTION CONTEMPLATED HERELINDER, OR THE PROPERTY,
            EVEN IF SUCH DAMAGES ARE CAUSED BY THE SOLE, JOINT, OR
            CONCURRENT NEGLIGENCE, STRICT LIABILITY, OR OTHER FAULT OF THE
            PARTY WHOSE LIABILITY IS BEING V/AIVED HERE]]Y; PROVIDED,
            HOWEVER, THAT THIS WAIVER SHALL NOT APPLY WITH REGARD TO
            CLAIMS BY THIRD PARTIES FOR WHICH ONE PARTY HAS AGREED TO
            INDEMNIFY THE OTHER LINDER THE TERMS OF 'I'HIS AGREEMENT.

            22.   Confidentialitv. All Records, and all other confidential data provided to Buyer,
     whether before or uft". th. date of this Agreement shall be subject to the Confidentiality
     Agreement; which Confidentiality Agreement shall terminate at Closing.

            23.     Further Assurances. Incidental and subsequent to Closing, each of the Parties
     shall execut., u.kno*1.dg";*d deliver to the other Party such further instruments, and take
     such other actions, as may be reasonably necessary to carry out the provisions of this Agreement.

            24.   Termination. Notwithstanding anything to the contrary contained herein, this
     Agreement rnuy U. t.trnin.oted only as provided in Sectiolis 24 and25.In the case of any such
     teimination, the terminating Party shall give proper written notice to the other Party specifying
     the provision pursuant to whlch the Agreement is being terntinated and with such termination
     beiig effectivé upon delivery of such notice (or written consent signed by Buyer and Seller) or as
     otherwise expressly provided in the case of Sections 2a(cXiv) and 24(d)(iv):

                    (a)      by the mutual consent of Buyer and Seller as evidenced in a writing signed
            by each ofBuyer and Seller;

                    (b)    pursuant to written notice, by Seller to Buyer, or Buyer to Seller, upon the
            issuance of a ñnal and non-appealable Order by a Governmental Authority to testrain,
            enjoin, or otherwise prohibit the transfer of the Property contemplated hereby; it being
            agieed that the Parties shall promptly appeal any adverse determination which is
            appealable (anr1 pursue such appeal with reasonable diligence); provided, that the right to
            términate this Agreement under this Section 24(b) shall not be available to a Party if such
            Order was prirnãrily due to the failure of such Party to perform any of its obligations
            runder this Agreement;

                    (")      by Buyer, pursuant to written notice to Seller:

                             (i)    if the Bid Procedures Order or Sale Order entered by the
                    Bankr¡ptcy Court shall have been vacated, or modified or supplemented in a
                    manner, without Buyer's prior written cousent, that is material and adverse to
                    Buyer;

                             (ii)  if priorto the closing, (A) tlte lìankruptcy case is converted into a
                    case under Chapter 7 of the BankrLrptcy Code, (B) the BankrLrptcy Case is
                    rlismissed, or (C) if a trustee under Chapter I I of the Bankmptcy Code is
                    appoinled ìrl the Bankruptcy Case;


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                       (iii) if, at the end of the Auction        contemplated by the bidding
                procedures provided for in the Bid Procedures Order, an Altemative Transaction
                ls approved by Seller and Buyer is not selected to be the Prevailing Bidder or the
                Backup Bidder;

                       (iu) if (A) Buyel is (1) not in material breach of this Agreement, and
                (2) ready and willing to close, (B) the conditions precedent to Closing set forth in
                Sections 10 and 1l have been satisfied or waived in writing by Seller, and (C)
                there has been a violation or breach by Seller of any representatiott, warranty, or
                covenant contained in this Agreement that (x) would cause any of the conditions
                set forth in Section 12 to not be satisfied by the Outside Termination Date, (y) has
                not been waived by Buyer, and (z) Sellel have failed to cure within ten (10)
                Business Days following receipt of notification thereof by Buyer;

                        (v) if Closing has not occurred by the Outside Termination Date;
                provided that the right to terminate this Agreement under this Section 2a@)Q)
                ihall not be available to Buyer if the failure to so close was primarily due to the
                failure of Buyer to perform any of its obligations under this Agreement;or

                       (ui)     if   an Alternative Transaction has beeu consummated.

                (d)    by Seller pursuant to written notice to Buyer:

                        (Ð if the Bid Procedures Order entered by the Bankruptcy Court shall
                have been stayed or vacated, or modified or supplemented in a mallnef' without
                Seller's prior written consent, that is material and adverse tt-r Seller;

                       (iÐ if, at the end of          the Auction contemplatcd by the bidding
                procedures   provided for  in the Bid Procedures  Order, Buyer is not determined by
                Seller to be the Prevailing Bidder or  the Backup  Bidder;

                        (iii)   if (A) Seller is (1) not in materialbreach of this Agreement, and (2)
                ready and willing to close, (B) the conditions precedent to Closing set forlh in
                Sections 10 and 12have been satisfied or waived in writing by Buycr, and (C)
                there has been a violation or bleach by Buyer of any representation, warranty, or
                covenant contained in this Agreement that (x) would callse any of the conditions
                set forth in Section I I to not be satisfred by the Outside Termination Date, (y) has
                not been waived by Seller, and (z) Br"ryer has failed to clrre within ten (10)
                Business Days following receipt of notification thereof by Seller;

                        (iv) if     Closing has not occurred by the Or"rtside Termination Date;
                provided that the right to terminate this Agreernent undel this Section 2a(d)(v)
                shall not be available to Seller if the failure to so close was primarily due to the
                failure of Seller to perform any of its obligations under this Agreement;

                        (v)     if   an Alternative Transaclion has been collsummated;




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                           (vi)   unless Buyer has given prior writterl notice      in accordance with
                   Section 2b hereof to Seller specifying a proper basis for        termination of this
                   Agreement by Buyer a¡cl notice of termination of this Agreement, if Buyer fails to
                   deliver the Performance Deposit to the Seller within three (3) Business Days after
                   the Execution Date; or

                           (vii) if the adjustments to the Base Purchase Price put'suant to Sections
                   8 and 13(b) exceed ten percent (10%)  of the Base Purchase Price.

            Each condition set forlh in this Section 24 pursuant to which this Agreement may be
            terminated shall be considered separate and distinct from each other such condition. If
                                                                  jn this Section 24 are applicable, the
            more than one of the termination conditions set forth
            applicable Party sliall have the right to choose the termination condition pursuant to
            which this Agreement is to be terminated'

            ZS.     Effect of Termination. If this Agreement is validly terminated under Section 24,
     except for the pr*r5rg",     S."tt"" t4(a), this Section 25, and Sections 34,35,36,3'J,38, and
                               "f
     +Z wtrlctr shali survive termination, this Agreement shall terminate and have no effect and,
     subject to this Section 25, each Party shall have no Liability to the other Party hereunder;
     p.ouid"d, however, the Conflidentiality Agreement shall not be affected by a termination of this
     Agreement. The Parties hereby agree that   if this Agreement is terminated:

                   (u)    pursuant to Section 24(dxiii), then, upon such termination, as Seller's sole
            and exclusive remedy, Seller shall be entitled to retain the Performance Deposit as
            liquidated damages free of any claims by Buyer thereto, and Buyer shall not be entitled to
            the Break-Up Fee or the Reimbul'senent;

                   (b)     pursuant to Section 24(a) (unless otherwise agt'eed by the Parties), Sectiotl
            24(b), Section 24(c)(i), Section 24(c)(ii), Section 24(c)(tü), Section 24(c)(iv), Section
            24(c)(v), Section 24(c)(vi) Section 24(dxi), Section 24(dxii), Section 24(d)(iv), Section
            Z+i¿)iuj, and Section 24(d)(vii), then Buyer shall be entitled to the delivery of the
            performa¡ce Deposit, free of any claims by Seller with respect thereto, and Seller shall
            pay the Performànce Deposit to Buyer within five (5) Business Days of such termination;

                    (")    pursuant to Section 24(c)(1), Section 24(c)(iii), Section 24(c)(iv), Section
            24(c)(vt), Section 24(dxii) or Section 24(d)(v), then Buyer shall be entitled to the Break-
            Up'Fee and the Reimbulrsement, sr"rbject to and on the terms of the immediately following
            paragraph; and

                    (d)    pLlrslrant to Section 2a(d)(vi), then Seller may exercise any remedies they
            have to recover damages equal to the amount of the Performance Deposit.

                    (e) With r.espect to any paynrents of the Break-Up Fee or Reimbursement if
            ally, pursuant to this Section 25 to wliich Br,ryer is entitled, such paynlents shall be made
            (x) in the case of a termination pLrrsuant to Section 2a@)$i) or Section 24(dxii), within
            ìen (10) Business Days after the later to occLrr of the termitratioll of this Agreement ancl
            the consummation of the Alternative Transactioll, as applicable; and (y) in the case of a
            terminarion pursuant to Section 24(c)(i), Section 24(c)(iv), Section 2a@)(vi) or Sectiorr

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             2a(c1)(v), witliin ten (10) Business Days after the termination of this Agreement, and in
             each case shall be allowed and paid as administrative expense claims of Bttyer under
             Section 503(bX1) of the BankrLrptcy Code'

                    (Ð       Return of Documentation and confidentialit)¡' upon termination of this
             Agreement, Iluyer shall retum to Seller or shall destroy all title, etrþineering,
             .niiron."ntal assessments and/or reports, maps and other information furnislied by or on
             behalf of Seller to Buyer or its Representatives or prepared by or on behalf of Buyer or its
             Representative in connection with its due diligence investigation of the Property, in each
             case, in accordance with the Çonfidentiality Agreement (and subject to such retention
             rights as are provided in the Confidentiality Agleement)

             26.    Use of Seller,s Name, Buyer agrees that, as soon as practicable after Closing, it
     will remove o,         to b. .emoved the names and malks of Seller or any fbrtn or derlvative
                     "u1,."
     thereof, whele and if they exist, and all variations and derivatives thereof and logos relating
     thereto from the Property and will not thereafter make any use whatsoever of such names, ntarks,
     and logos.

             Zj.    Continuation of Operatorship. If Seller presently operates any Oil and Gas
     Interest, Seller rn.¿kes no representation, warranty, or covenant that the Buyer will become
     operatot of a¡y or all of the Property. Buyer acknowledges that operations will be governed by
     the applicable operating agreements or other related agreements affecting the Property.

            28. Recordinq Documents Notices. Buyer shall pay all documentary, filing, and
     recording f"". in"urr".d i*nnection with the filing and recording of the instruments of
                    Within sixty (60) days after Closing, Buyer shall provide Seller with recorded
      "onu.yui"".
      copies of alldocuments conveying the Oil and Gas Interests to Buyer.

             All notices hereunder sliall be sufficiently given for all purposes hereunder if in writing
      and delivered personally, or to the extent receipt is confirmed by the party charged with notice,
      sent by documented overnight delivery service, by United States Mail, or email (with a copy to
      follow the next Business Day by overnight courier) to the appropriate address or uumber as set
      forth below. Notices to Seller or Buyer shall be addressed to:

                      SELLER


                      Badlands Production Company
                      7919 E. Tufts Avenue, Suite 1150
                      Denver, CO 80237
                      Attn: Richard S. Langdon
                      Email : rlangdon@badlandsenergy. com

                      V/ith   a copy to:


                      Hall, Estill, Hardwick, Gable, Golden &
                      Nelson, P,C.


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                     Attn: Steven W. Soulé
                     320 South Boston Ave. Suite 200
                     Trrlsa, Oklahoma 74103
                     Phone: 918-594-0466
                     E-mail : ssoule@hallestill.com

                     BUYER

                     WapitiNewco, L.L.C
                     800 Gessner, Suite I l'00
                     Houston, Texas 17024
                     Attn: Bart Agee
                     Email   :   bagee@wapitienergY.com

                     With a copy to

                      Diamond McCarthY LLP
                      Attn.: KyLurg S. Lee and Charles M. Rubio
                      909 Fannln Street, 37'r'Floor
                      Hottston, Texas 770I0
                      Email : kl ee@di amondmccarthY.com;
                      crubio@di amondmccarthY.com

             29.   Entire Aqreement. This instrument states the entire agreement and supersedes
     all prior ugt".*"tltr 1"*..pt th" Confidentiality Agreement between tire Buyer and Seller)
                            'concerning
     between tñe Parties                 the subject matter hereof. This Agreement may be
     supplemented, altered, amen<led, inodified, or revoked by writing only, signed by both Parties'

             30.    Counterparts. This Agreerrent may be executed by Buyer and Seller in any
      nurnber of counterportr, .o.h of which shall be deemed an oliginal instrttment, but all of which
      together sirall consiitlrte one and the same instrument, This Agreement may be executed in one or
      more co¡nterparts, each of which will be deemed an original, but all of which togethel will
      constitute one and the same instrument. This Agreement may be executed and delivered by
      facsimile transmission or other electronic copy, and a facsimile or electronic copy of this
      Agreement or of a signature of a party will be effective as an original.

             31.     Time of Essence. Time is of the essence in this Agreement,

              32.     Announcements: Disclosures. Except as may be requrired or contemplated by
      applicable iu*r, .l*t, ..gut,,tions and orders (including those of any Goverutnental Authority
      nàuing jurisdiction over Seller or Bttyer, as the case may be) or the applicable rules and
      regula-tiå¡s of any Governmental Authority or stock exchange, neither Buyer nor Seller shall
      issue any such press release or other pLrblicity at any time withotrt the prior written consent of
                                                                                                         the
      other pár.ty, *i-,i.t-r consent, nray be withheld in the sote dìscretion of the     other Party.  Tbe
      opinion ol counsel of eitlier party shall be conclusive evidence of such Leqttirculetrt or
      cånternplation of applicable laws, rLrles, regulations, and orders. WithoLrt limitation of the


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     foregoi¡g Buyer shall not disclose the terms or existence of this Agreenretrt to any persoll or
     entity without the prior written consent of Seller.

            33.    Waiver. A¡y of the terms, provisions, covenants, representations, warranties, or
     conditions hereof *uy t . waived only by a written instrument executed by the Party waiving
     complia¡ce. The failure of any Parfy aI any tirne or times to require performance of any
     provisions hereof shall in no manner affect such Party's right to enforce the same. No waiver of
     äny of the provisions of this Agreement shall be deemed or shall constitute a waiver of any other
     pråvisions Ïereof (whether or not similar), nor shall such waiver constitute a continuing waiver
     unless otherwise expressly provided.

            34.     Gov      Law. THIS AGREEMENT SHALL BE GOVERNED'
     CONSTRUED        AND ENFORCED IN ACCORDANCE WITH THE LAWS OF THB
     STATE OF COLORADO, EXCLUDING ANY CONFLICTS-OF-LAW RULE OR
     PRINCIPLE THAT MIGHT APPLY THE LAW OF ANOTHER JURISDICTION. THE
     ASSIGNMENT DOCUMENTS, AND ANY OTHER INSTRUMEN'I'S OF
     CONVEYANCE EXECUTED UNDER THIS AGREEMENT, WILL BE GOVERNED BY
     AND MUST BE CONSTRUED ACCORDING TO THE LA\ilS OF THE STATE WHERE
     THE PROPERTY TO \ryHICH THEY PERTAIN IS LOCATED, EXCLUDING ANY
     CONFLICTS-OF-LAW RULE OR PRINCIPLE THAT MIGFIT APPLY THE LAW OF'
     ANOTHER JURISDICTION.

            35.     Venue and Jurisdiction.

                    (a)     Withor,rt limiting any party's right to appeal any Ot'der of the BankrLrptcy
            Conrt, the Parties expressly consent to (a) exclusive jurisdiction of the Banknrptcy Court
            over any dispute (i) àrising out of or relating to this Agreement, or (ii) in connection with
            the Sale Transaction, and (b) the authority of the Bankruptcy Court to adjudicate any
            dispute (i) arising out of or relating to this Agreement, or (ii) in connection with the Sale
            Transaction. In the event the Bankruptcy Court does not have jurisdiction over a dispute
            that arises under this Agreement, or for whatever reason fails or refuses to take
            jurisdiction over any other dispute arising heretnder or in connection with the Sale
            Transaction then, except as otherwise expressly set forth in this Agreement and to the
             fullest extent permitted by applicable law, the Parties hereby agree to submit all Actions
             arisi¡g hereunder and not otherwise resolved by the Parties in writing to the exclusive
            jLrrisdiction of the appropriate State of Colorado court located in the City and County of
            b"nu"r, Colorado or, to the extent permitted by law, the federal collrts in the District of
             Colorado (to whose jurisdiction the Parties hereby irt'evocably, unqualifìedly and
             unconditionally submit), and to any appellate couft from any therefrom, in any dispute
             arising out of or relating to this Agreement, alrd each Party hereby irrevocably,
             ¡nq.,ulifi"dly an<l unconditionally agrees that all Actiorls in respect of any such dispute
             may be heard and determined in such State of Çolorado court, or to the extent perrnitted
             by law, in such federal court. Each of the Parties hereby irrevocably, unqualifiedly and
             unconditìonally waives, to the fullest extent it may effectively do so, any defense of any
             iuconvenient forum or improper venue to the tnaintenattce of any sLrch dispLrte in any
             such coull and any right ofjurisdiction on account ofits place ofresidence or donlicile.
             Each of the Parties irrevocably, unqr-ralifiedly and unconditionally consents to the service

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               of any and ail process in any such disptrte in such State of Colorado or federal court by
               the sãnding ofìuch process to each of the applicable Parties at the addresses and in the
               man¡er spãcified irr Section 28, or as otherwise may be perrnitted ot'required by law. The
               parties shall be bound by a Final Order in any such dispute, following exhaustion of all
               remedies by appeal, which Final Order shall be conclusive and may be enforced in other
               jurishictions by suit on the judgment or in any other manner providecl by applicable law.

                      (b) EACH OF THE PARTIES HEREBY WAIVES ITS RIGHT TO TRIAL
               BY JURY IN ANY DISPUTE ARISING HERELINDER AND CONSENTS'TO TRIAL
               WITHOUT A JURY, AS EVIDENCED BY ITS EXECUTION AND DELIVERY OF
               THIS AGREEMENT.

               36.   Lesal Fees. The prevailing Party in any legal proceeding bror"rght under or to
     enforce this Agreem..,t shutt be additionally entitled to recover court costs and reasonable
     attorneys' fees from the non-prevailing Party'

               37.    Interpretation of Agreement. In cortstruing this Agreement, the fbllowing
     principles shall be followed:

                               (i)   no consideration shall be given to the fact or plesumption that one
                      Party had a greater or lesser hand in drafting this Agreemettt;

                               (iÐ      examples shall     not be   construed   to limit,       expressly                     or    by
                       implication, the matter they illustrate;

                               (iii)   the word "ilgludçÊ" and its syntactical variants mean "includes.
                      but is not limited to" and coffesponding syntactical variant expressions,

                               (iv)     a defined term has its defined meaning throughout this Agt'eement,
                       regardless of whether    it appears before or after the place in this Agreement where
                       it is defined;

                               (v)      unless otherwise specified, the plu¡al shall be deemed to include
                       the singular, and vice versa; and

                               (vi)     each gender shall be deemed to include the other genders.

                                                                                       jntetrded to
               38.     Agreement fbr the Parties' Benefit Onlv. This Agt'eement is not
     confer Ltpon any person not a party hereto any rights or remedies hereunder, and no person other
     than the Parties hereto is entitled to rely on any representation, covenant, or agreement contained
     herein.

               39.    Severability, If any term or other provision of tliis Agreement is invalicl, illegal,
     or r¡capable of being enforced by any rr-rle of law or public policy, all other conditions and
     provisiåns of this Agreement shall neveftheless remajn in full force ancl effect so long as the
     ôconomic or legal substance of the transactions contemplated hereby is not affected itt any
     adverse manucr to any party. Upon such determination that any tern'ì or other plovision is
     i¡valid, illegal or incapable of being enforced, the Parties shall negotiate in good faith to modify

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     this Agreement so as to effect the original intent of the Parties as closely as possible in an
     acceptãble manner to the end that the transactions contemplated liereby are fulfilled to the extent
     possible.

             40.     Assienment and Binding Bffect. This Agreement or any porlion thereof and the
     rights and oUliætio."t tr"*,un¿er=hall not be assignable or delegable by either Palty without the
     prìor written consent of the other Party, Except as provided in the preceding sentence, the tertns,
     provisions, covenants, representations, and conditions of this Agreement shall be binding upon
     ànd inure to the benefit of and be enforceable by the Parties hereto and their successors'

             41.    Bonds. Prior to Closing, Buyer shall take such actions as may be necessary or
     appropriate ro thut.oll surety bonds, guaranties, and cash collateral listed on Scheclule 41 will be
     råt.u.L¿ and replaced immediately after Closing with comparable surety bonds, guaranties, and
     cash collateral from Buyer or an Affiliate of Buyer, Buyer shall promptly reimburse Seller f'or
     any losses or costs incurred by Seller in connection with such surety bonds, guaranties' or cash
     collateral after Closing.

             42. Exclusive Remedy. THE PARTIES HAVE VOLUNTARILY AGRBED TO
     DEFINE THEIR RiCITTS, LIABILITIES AND OBLIGATIONS RESPECTING THE
     SUBJECT MATTER OF THIS AGREEMENT EXCLUSIVELY IN CONTRACT
     PURSUANT TO THE EXPRESS TERMS AND PROVISIONS OF THIS AGREEMENT,
     ANf), \ilITHOUT LIMITING THE RIGHT OF ANY PARTY TO RELY ON THE
     REPRBSENTATIONS AND WARRANTIES MADE TO SUCH PARTY IN SECTION 5
     OR SECTION 6, AS APPLICABLE, (SUBJECT TO THB EXPRESS TERMS OF THIS
     AGRBEMENT AS TO THE SURVIVAL THEREOF), THE PARTIES EXPRESSLY
     DISCLAIM THAT THEY ARE OWED ANY DUTIES OR ARE ENTITLED TO ANY
     REMEDIES NOT EXPRESSLY SET FORTH IN THIS AGREEMENT.
     FURTHERMORE, THE PARTIES EACH I-IEREBY ACKNOWLEDGE THAT THIS
     AGREEMENT EMBODIES THE JUSTIFIABLE EXPBCTATION OF
     SOPHISTICATED PARTIES DERIVED FROM ARM'S LENGTH NEGOTIATIONS'
     AND ALL PARTIES TO THIS AGREEMENT SPBCIFICALLY ACKNOWLEDGE
     THAT NO PARTY HAS ANY SPECIAL RELATIONSHIP WITH ANOTHER PARTY
     TFIAT WOULD JUSTIFY ANY EXPECTATION BEYOND THAT OF AN ORDINARY
     BUYER AND AN ORDINARY SELLER IN AN ARM'S LENGTH TRANSACTION.
     TIIE SOLE AND EXCLUSIVE REMEDY FOR ANY BREACH OF THE TERMS AND
     PROVISIONS OF THIS AGREEMENT (INCLUDING ANY REPRESENTATIONS AND
     WARRANTIES SET FORTH HEREIN SUBJECT TO THE EXPRESS TBRMS OF THIS
     AGREEMBNT AS TO THE SURVIVAL THEREOF) SHALL BE THOSE RIGHTS TO
     INDEMNIFICATION AND THOSE REMBDIES PROVIDED IN THIS AGREEMENT
     (AS SUCH RIGHTS TO INDEMNIFICATION AND REMBDIBS MAY BE FURTHER
     LIMITED OR EXCLUDED PURSUANT TO THB EXPRESS TERMS OF THIS
     AGRBEMENT), AND, WITHOUT LIMITING THE RICHT OF ANY PARTY TO RELY
     ON THE RBPRESENTATIONS AND WARRANTIBS MADE TO SUCH PARTY IN
     SECTION 5 OR SECTION 6 HEREIN (SUBJECT TO THB EXPRESS TERMS OF THIS
     AGREEMBNT AS TO THE SURVIVAL THEREOF), THB PARTIES HEREBY \ilAIVB
     AND RELEASE ANY AND ALL TORT CLAIMS AND CAUSES OF ACTION THAT
     MAY BE BASED UPON, ARISE OUT OF OR RELATE TO THIS AGREEMENT' OR

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     THE NEGOTIATION, EXECUTION OR PERFORMANCE OF THIS AGREEMENT
     (INCLUDING ANY TORT CLAIM OR CAUSE OF ACTION BASED UPON, ARISING
     OUT OF OR RELATED TO ANY REPRESENTATION OR \ryARRANTY MADE IN OR
     IN CONNECTION \ilITH THIS AGRBEMBNT OR AS AN INDUCEMENT TO BNTER
     INTO THIS AGREEMENT). WITHOUT LIMITATION OF THE FORBGOING, FROM
     AND AFTER THE CLOSING, THE SOLE AND EXCLUSIVE REMEDY OF BUYER
     FOR ANY AND ALL (A) CLAIMS RELATING TO ANY REPRESENTATIONS,
     WARRANTIES, COVENANTS AND AGREEMENTS CONTAINED IN THIS
     AGREEMENT (SUBJECT TO THE EXPRESS TERMS OF THIS AGREEMENT AS TO
     THE SURVIVAL THEREOF), (B) OTHER CLAIMS PURSUANT TO OR IN
     CONNECTION WITH THIS AGREEMENT AND (C) OTHBR CLAIMS RELATING TO
     THE PROPERTY AND THE PURCHASE AND SALE THEIIEOF SHALL BE (1) ANY
     RIGHT TO INDEMNIFICATION FROM SUCH CLAIMS OR REMEDIES THAT ARE
     EXPRESSLY PROVIDED IN THIS AGREEMENT (AS SUCH RIGHT TO
     INDEMNIFICATION OR REMEDIES MAY BE FURTHER LIMITED OR EXCLUDED
     PURSUANT TO THE EXPRESS TERMS OF THIS AGREEMENT), AND IF NO SUCH
     RIGHT TO INDEMNIFICATION OR REMEDY IS EXPRESSLY PROVIDED HEREIN,
     THEN SUBJECT TO THE FOLLOWING SUB-CLAUSE (2), SUCH CLAIMS ARE
     HEREBY WAIVED TO TE FULLEST EXTENT PERMITTED BY APPLICABLE LAW'
     AND (2) THE RIGHT TO SEEK AN INJUNCTION OR INJUNCTIONS TO PREVENT
     BREACHES OF THE TERMS OF THIS AGREEMENT OR SPECIFIC
     PERFORMANCE OF THE TERMS HEREOF, IN EACH CASE, FROM A COURT OF
     COMPETENT JURISDICTION.

            43.     Survival of    Renrese   ntations and 'Warranties      The representations and
     walanties of Seller in this Agreement, other than Sections 5(b) and 5(c) of this Agreenrent, shall
     survive for a period of 30 days following Closing.

            44.     Emplovee Matters.

                    (a)     Seller shall provide a list of available Business Employees to Buyer at
            least fifteen (15) days prior to the Closing Date and shall update such list on and through
            the Closing Date to reflect any new hires or departures. Buyer may, but is not obligated
            to, make an offer of employment to such Business Employees as it chooses in its sole and
            absolute discretion, and shall use comlnercially reasonable efforts to deliver such offers
            no later than five (5) days prior to the Closing Date. Strch offers shall be effective as of
            the Closing Date or such later date as any Business Employee who is on short or long
            term disability may be ready to retnrn to work. All offers of employment shall cornply
            with the standard hirirrg practices of BLryer. The term "Business Employees" shall mean
            those f¡ll time and part tirne ernployees of Seller (hourly and salaried) working in or
            based in Seller's Myton, Utah field office and Denver, Colorado office, as identifìed by
            Seller, whose primary employment is related to the Property.

                    (b)     Buyer shall take such actions as are necessary to provide continr"ration
            health care coverage to employees hired by Buyer pursttant to Sectioll 44(a) above and
            their qualified beneficiaries who incLrr qLralifying events on or after the Closing Date in


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           accordance with the continuation health care coverage requirements of Section 49808           of
           the Code or any state analogue (collectively "COBRA").

                  (c)    This Section 44 shall not constitute an amendment to any employee
           benefit plan maintained by the Seller and its Affiliates, or the Buyer and its Affiliates,
           create any third party beneficiary rights or inure to the benefit of or be enforceable by any
           employee or any peÍson representing the interests of employees'

                  (d)     Nothing herein shall be construed to alter in any way the status of the
           Business Employees as employees at will of any of the Seller, not shall it operate to
           guarantee any employment for any period of time to any such Business Employees.
           Éurther, nothing herein shall confer on any such Business Employees any rights as third
           party beneficiaries.




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            IN WITNESS WHEREOF, the Parties havc cxecuted tlris Agreenrent as of the         clate   first
     written above.

                                             "Sellet'"

                                             I]ADLAN         PIìODUCTION COMPANY

                                             By
                                             Namc: Richard S. Lan
                                             Title:   President   & CEO



                                             "Buyer"

                                             WAPITI NEWCO, L.L.C


                                             By
                                             Name: Bart Agee
                                             Title:   President




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              IN WITNESS WHEREOF, the Parties have executed this Agreemgnt    6s   of tlre date ftrst
       written above.

                                              "Seller"

                                              BAÐLANDS PRODUCTION COMPANY

                                              By
                                              Namet
                                              Title:



                                              '(Ð!yg!'r

                                              WAPIT¡ NEWCO, L,L,C


                                              By

                                              Title:   President




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                             LIST OF SCHEDULBS AND EXHIBITS

     Schedules:

     Schedule    2(a)    Executory Contract List
     Schedule    5(d)    Scheduled Consents
     Schedule    5(h)    Taxes and Tax PartnershiPs
     Schedule    5(i)    Description of Claims
     Schedule    5o      Production Matters
     Schedule    5(l)    Consents
     Schedule    5QXA)   Preferential Rights to Purchase
     Schedule    6(i)    Letter from Buyer's Lender or Financing Entity
     Schedule    9       Pre-Closing Operations
     Schedule    4l      Bonds



     Exhibits:

     A      Definitions
     B      Oil and Gas Interests - Leases
     C      Oil and Gas Interests - Wells
     D      Oil and Gas Permits - Rights of WaY
     E      Excluded Rights and Interests
     F      Allocated Values
     G      Assignment, Assumption Agreement, and Bill of Sale
      H     Form of Closing Statement
      I     Non-Foreign Person Affi davtt
      J     List of Material Contracts




                                                                          Purchctse and Sale Agreentenl
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                                                  Exhibit A

            Section   1.1   Delìnitions. The following terms, when used in this Agreement and the
     attached schedules and exhibits, shall have the tneanings given below.

            "Access Party" and "Access Pafties" is defined in SectionT(c)'

             "Action" means any action, claim, demand, arbitratìon, hearing, charge, conplaint,
     i¡vestigation, examination, indictment, litigation, suit or other civil, climinal, administrative or
     investigative proceedings.

            '(AFE" means any authorization for expenditr"rre with respect to Property'

             "Affiliate" means, with respect to any specified Person, any other Person that directly or
     indirectly controls, is controlled by or is uncler common control with such specified Person, For
     the purposes of this definition, the term "control," when used with respect to any specified
     person,-rneans the power to direct or cause the direction of the management or policies of such
     Person, directly or indirectly, whether through the ownership of voting securitics, by Contract ot'
     otherwise; and the terms "controlling" and "controlled" have correlative meanings,

             "Aggregate Defect l)eductible" means ten percent (10%) of the Base Purchase Price,

             "Allocated Value" is defined in Section 4(e).

             "Alternative Transaction" means the sale, transfer, lease or other disposition of, directly
     o, indir""tly, i*luding through an asset sale, stock sale, merger, foreclosure, reorganization or
     other similar transaciiou, including pLlrsuant to a stand-alone plan of reorganization or
     refinancing, directly or inclilectly, all or a portton of the Property (or agreement to do any of the
     foregoing) to a Person or Persons other than Buyer or to effect any other transaction the
     consummatio¡ of which would be substantially ìnconsistent with the terms of this Agreement.

             "Assignment" means the Assìgnment, Assumption Agreement, and Bill of Sale attached
     hereto as Exhibit G.

             "Assumed Contract" is defined tn Section    2(.a).


             "{uç!p4"   is defined in Section l4(d).

              "Avoidance Actions" means any ancl all claims, rights or causes of action of Seller
      arising un¿* the Bankruptcy Code or similar state law claims, inclLrding under Chapter 5 of the
      BankrLrptcy Code or similar state laws, except for any such actions against Buyer'

             "Backup Bidder" has the meaning set forth in the Bid Procedures'

             "Base Purchase Price" is defined in Section 4(a)'

             "Bid lrcççlttrcg" nleans bidding procedures approved by the Bid      Plocedr"u'es Order.




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             "Bid Plocedures Order" means a Bankruptcy Court Order that, among other things, (a)
     establishãs a dare by which competing bids must be submitted by bidders and establishes
     procedures for the Sale Process, ancl (b) approves the payment of the Break-Up Fee arrd
     Reimbursement ou the terms and conditions sct forth herein.

             "Break-uÞ Fee" is defined in Section 14(a).

          "Business Dav" means any day other than a Saturday, a Sunday or other day oll which
     commercial banks in Denver, Colorado are authorized or required by Law to close.

             "Business Employees-" is defined in Section 44(a).
             ('B!yçI" is defined in   the preamble'

             "Buyer's Assumed Obligations" is defined in Section 20G),

             "Buver's Knowledge" is defined in Section 6(m)'

             "Cash Consideration" is defined in Section 4(a).

             "Casualt), Loss" is defined in Section l3(a).

             "Claims" means a claim as such terri is defined in section l0i(5) of the Bankruptcy
     Code, and any and all demands, losses, liabilities, damages, obligations, expenses, fines,
     penalties, costs, claims, causes of action and judgments for: (a) breaches.of Contract; (b) loss or
     ãu-ug. to propefty, injury to or death of persons (including illness and disease), and other
     tortio¡s injLiryf or (c) violations of applicable Laws, Orders or any other legal right or duty
     actionable at law or eq¡ity. The term "Claims" also includes reasonable attorneys' fees, coutt
     costs, a¡d other reasoltable costs rcsulting from the investigation or defense of any Claim.

             "Closing" and "Closing Date" are deltned in Section 15.

             "COBRA" is defrned in Section 44Lb)'

             'rcode" is defined in Section 5(h).

              "Confidentiality Agreement" means that certain confidentiality agreement between
      Seller and Buyer, dated MaY 5,2017.

             "Çe¡1IAç1" means any contract, agreement, indenturc, note, bond, loau, lease, sltblease,
      conditional sales contract, mortgage, license, sublicense, franchise agreement, obligation,
      promise, r-rndertaking, commitment or other binding arraugement (in each case, whethel' written
      or oral), br:t expressly excluding the Leases.

              "Contract aud Cure Schedulg" is defined in Section 2(a).

            "Cure Costs" means to pay or otherwise satisfy all liabilities, inclLrcling pre-petition
      mo¡etary liabilrties, of Seller that nrust be paid or otherwise satisfied to ctlre, pllrsllant to section
      365 of the BankrLrptcy Code, ail of Seller's monetaly atld non-l.nonetat'y d efaults under each
                                                                                    l) u rc'   h   ctsq   a n   cl Sa I e        .'1   gre e nte n I
                                                                                                    ,Sc' h e   rfi t I c.s   u   nd l:.r    h ib   it   :;
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     Assumed Co¡tract at the time of the assumption tliereof, in each casc as determined by the
     Bankruptcy Court or as agreed by Seller and the non-debtor party to any such Assutned Contract.

            "Cure Period" is defined in Section 8(j).

            "Current Tax Period" is def,tned in Section 18(a).

           "Defect Notice Date" means frve (5) Business Days after the Sale Order is entered by the
     Bankruptcy Court.

            "Defensible Title" is defined in Section B(a)'
             ((Ði¡pùg" means any dispute, claim or colltroversy of any kind or nature related to,
     arising u.t¿*, or connected with this Agreement or the transactions contemplated hereby
     (incluãing disputes as to the creation, validity, interpretation, breach or termination of this
     Agreement),

             "Effective Date" is defined as l2:01 a.m. Mountain Time where the Property is located
     on the first day of the month in which Closing occurs.

             "Environmental Law" means any Law relating to the control of any pollutant or
     prot..tion of th. ui.;*uter, Iand or environment or the release or disposal of hazardous materials,
     hazardous substances or waste materials'

              "Excluded Assets" means: (i) all of Seller's corporate minute books and cotporate
     financial records that relate to Seller's business generally; (ii) all tracle credits, all accounts,
     receivables and all other proceeds, income or revenues attributable to the Oil and Gas Intgerests
     with respect to any period of time prior to the Effective Date; (iii) all claims and causes of action
     of Sellei arising ,nå.t ot with respect to any contracts included in the Oil and Gas lnterests that
     are attributable to periods of time prior to the Effective Date (inclr"rding claims for adjustments or
     refr:ncls); (iv) all rights and interests of Seller under any policy or agreement of insurance, ttnder
     any bond, or to any insurance or condemnation proceeds or awards arising, in each case, from
     acis, omissions or events, or damage to or destruction of property, except as provided in Section
      13; (v) all claims of Seller for refunds of, credits attribr"rtable to, or loss cary forwards with
     1..rp..i ro taxes attributable to any period (or portion thereof) prior to the Effective Date; (vi) all
     doóume¡ts and instruments of Sellel that are protected by legal privilege (except fol title
     opinions); (vii) all data and contracts that cannot be disclosed to Buyer as a result of
     cõnfrdentiality arrangements under agreements with third parties; (viii) the right to audit any
     third party arising under any of the contracts or otherwise with respect to any period prior to the
     Effeciive Date related to any contract that is not assumed by the Buyer; (ix) all geophysical and
     other seismlc and related technical data and information relating to the Oil and Gas Interests that
     is not owned by Seller or conveyance of which wor-rld cause an additional fee or penalty to be
     incurred; (x) all caLrses of action under Chapter 5 of the Bankruptcy Code; (xi) any assets
     descr.ibecl in Exhibit E; and (xii) the Field Office and inventory located thereon.

            "Executory Colltracts"" means any executory Contract or unexpired lease that is subject
     to assumption and assignment under Sectioll 365 of the BankrLrptcy Code.


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             "Eðçc.uþIy-ÇpnEaçls-I-j$" is defined jn Section 2(a).

             "Excluded Contracts" is defined in Section 2(a).

              "Field Office" means those structures, buildings and lands located at 10569 Pariette
     Road, Myton, Utah, 84052 including all personal computer equiptnent, vehicles, communication
     equipment, improvements, frxtures, inventory, spare parts, tools, abandoned property and
                                                                                                      junk
     un¿ òtn"r persónal property located thereon and including all of Sellers' right, title and interest in
     the lands àescribed in the following deeds: (l)'Warranty Deed dated August22,2011 and filed
     in the county records of Duchesne County, Utah at En|ry 437748, Book A625,Page 624; (2)
     Warranty Deed dated August 26,2010 and filed in the county records of Duchesne County,
     Utah at Enfry 427590, Bobk A602, Page 708; and (3) Warranty Deed dated June 13,200'7 and
     frled in the county records of Duchesne County, Utah at Entry 396i 16, Book A50'7,Page26l.

             "Final Closing Date" is defined in Section l7(a).

             "FiualClosing Statementf is defined in Section l7(a).

             "Final Closing Statement Due Dale" is defined in Section l7(a)'

             "Final Order" msans an order or judgment of the Bank-r'r-rptcy Court or any other couft of
     competent jurisdiction as to which the time to appeal, petition for cerliorari, or move for
     reargnment or rehearing has expired and as to which no appeal, petition for cerliorari, or other
     proceedi¡gs for reargnment or rehearing shall then be pending or as to which any appeal, petition
      for certiorari, reargue, or rehear shall have been waived in writing in form and substance
     reasonably satisfactory to Seller and Buyer, or, in the event that an appeal, wlit of certiorari, or
     reargtunent or rehearing thereof has been sougltt, such order of the Bankruptcy Court or other
     coLrñ of competent jurisdiction sliall have been determined by the highest court to which such
     order was appealed,-or certiorari, reargument, or rehearing shall bave been denied or resulted in
     no modificátion of such order and the time to take any further appeal, petition for certiorali, or
     ntove for reargument or rehearing shall have expired; provided, ltowever, that the possibility that
     a morion under section 502O of the Bankruptcy Code, Rule 59 or RLrle 60 of the Federal Rules
     of Civil Procedure, or any analogous rule under the Federal Rules of BankrLrptcy Procedure or
     applicable state court rules of civil procedul'e may be, but has not been, filed with respect to such
     order shall not cause such order not to be a Final Order'

             "Final Purchase Price" is defined in Section l7(a).

             "Free and Clear" ltleans free and clear            of all liens, Claims, causes of action,
     encumbrances, interests, pledges, secr,rrity  interests, rìghts of setoff, t'estrictions or limitations on
     Lrse, successor liabilities, conditions, rights of first refusal, optious to purchase, obligations to
     allow participation, agreements or rights, rights asserted in litigation matters, rights asserted in
     adversãry p¡oceedings in the Chapter I I Cases, competjng rights of possession, obligations to
      lend, rnáttèrs f,iled of record that relate to, evidence or secLu'e an obligation of Seller (and a)l
      created expenses and charges) of any type under, among otherthings, auy docnment, instrument,
      Contract, afficlavit, matter filed of record, cause, or l-.aw, whether known or unknown, legal or
      eqr.ritable, aud all liens, rights of offset, leplacement liens, adeqtrate protection liens, charges,


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     obligations, or claims granted, allowecl or directed in any Order, to the fr,rllest extent provided by
     applicable Law.

                                                                          ties"   meâns     (a) any  federal,
     provincial, state, local, municipal, national or international govetnment or              governmental
     ãuthority, rggulatory or adrninistrative agency, governmental commission, department, board,
     bureau, ugenãy or instrumentality, court, tribunal, arbitrator or arbjtral body (public or private);
     (b) any self-regulatory organization; (c) any political subdivision of any of the foregoing; (d) or
     any applicable tribal authority whose consent or approval to a transaction hereunder is required.

            "Government Taking" is defined in Section l3(a),

            "Hard Consent" is defined in Section 13(fl

            "H)¡drocarbons" means oil, gas, casinghead gas, coal bed methane, condensate and other
     gaseous and liquid hydrocarbons or any combination thereof.

             "Individual Title Threshold" is defined in Section 8(e).

           "Lau/" means any law, statute, ordinance, code, regulation, lule or other requirement of
     any Governmental Authority.

             "Leases" means all oil, gas and mineral leases in which Seller holds any right, title or
     interest of any kind, including those described in Exhibit B'

           "Lien" means any of the following: mortgage, lien (statutory or other), other securìty
     agreement or interest, hypothecation, pledge or other deposit arrangelnent, charge, levy,
     executory seiznre, attachment, garnishment, encumbrance (including any easement, exception,
     reservation or limitation), conditional sale, title retention or other similar agreetneut, preemptive
     or similal right, or any option; provicled, however, that the tenlt "Lien" shall not include any of
     the foregoing to the extent created by this Agreement.

              "Material Ad verse Effect" means an y adverse effect on the ownership, operation or value
     of the Property, as currently operated, which is material to the ownership, operation or value of
     the Property, taken as a whole; provided, however, that the following shall be deemed not to
     constitr-rte, create, of cause a Material Adverse Effect: any changes, circumstances or effects that
     (a) affect generally the oil and gas industry, snch as fluctuations in the price of commodities,
     indLrstry inputs, or hydrocarbons, (b) result from international, national, t'egional, state, or local
     eco¡omic conditions, (c) result from general developments or conditions in the oil and gas
     industry, (d) result from changes in Laws (including regr.rlatory or èlforcement policy)
     applicable to Seller, (e) result from any of the transactions contemplated by this Agreement and
     any pgblic altnoLrncement thereof, (f) result Íìom the failure of a Governmental Ar"rthority to act
     or omit to act pursuant to Law, (g) result from acts of God or natural disasters, (h) result from an
     outbreak or escalation of hostilities (whether nationally or intet'lrationally), or the occunerlce of
     a¡y other calamity or crisis (whether nationally or intentationally), incÌuding terrorist attacks, (i)
     result fi'om a condition that is cured or eliminated oll or before Closing, or fi) result from the
      BankrLrptcy Case.


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             "Material Contracts" is defined in Section 5(f).

              "Net Revenue Interest" means, with lespect to any Person, the interest of such Person in
      and to the Hydrocarbons produced and saved from, or otherwise attributable to, a Lease or Well,
      as applicable, after satisfaction of all royalties, overriding royalties, net profits interests and
                                                                                                          other
      simitãr burdens on or measured by production of Hydrocarbons therefrom'

              "Notice of Defective Interests" is defined in Section 8(d)'

              "Oil and Gas Interests" mealls all of Seller's right, tìtle, and interest in and to                the
      followìng rights, interests, and assets, but exclr.rding the Excluded Assets:

                       (i)    The Leases;

                       (ii)   All rights, obligations   and interests in any unit or pooled area in which the
              Leases   or lands are included, including  al1 rights and obligations derived from any
              unitization, pooling, operating, communitization or other Assumed Contract or from any
              Order (the "Units")

                       (iii) All    oil, gas and   condensate wells (whether producing, not producing or
              abandoned), water soltrce, water injection and other injection or disposal wells and
              systems in'which Seller holds any right, title or interest of any kind (wherever located)
                   .,Wells") as set fortli on Exhibìt C or located on the Leases or on the lands covered
              lihe
              by the Leases or Units, other than leased equipment located on the Leases or Units;

                       (iv) (i) A1l flow lines, oil, gas, r,vater and other pipelines,
                                                                                  gathering systems
              and related equipment located on the Leases, the Units, or the Permits' Easements and
              Surface Righis ãr otherwise associated with the production or the transportation of
              production from the Leases, the Wells or the Units, and (ii) all facilities, equipment,
              compressors, booster stations, plants, meters, weìl pads, tank batteries, radio towers,
              ,.-ót" terminal units, supervisory control and data acquisition (SCADA) equipment and
              other similar equipment, personal computer equipment, vehicles, communication
              eqttipment, improvements, fixtures, inventory, spare parts, tools, abandoned property and
              junk and othér personal property located on the Leases, the Units, or the Permits,
              Easements and Surface Rights or otherwise associated with (A) operations on the Leases,
              the Units or the Permits, Easements and Surface Rights or (B) the sale, plocessing or
              transportation of production fi'om Leases, the Wells atrd the Units, including all off-Lease
               faciliìies and other personal property (collectively referred to as the "EquiÞment"),

                       (v)      easements, rights-of-way, licenses, permits, servitudes, sttrface leases,
                              All
              snrface use agreeme¡ts, surface fec tracts, and similar rights, obligations and interests,
              whether located on the Leases or on other propeÌ1y, applicable to or used in operating the
              Leases, Units, Wells,   or Eqr-ripment (the "Permits, Easements and Surface Rights"),
              including those described on Exhibit D;

                       (vi) All   lease files, right-of-way files, well files (including well logs),
              production records, division order files, abstracts, trtle opinions, and Contract files and
              ieservoir and fìeld studies related to any ol all of the Leases, Units, Wells, Equipment,

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            Permits, Easernents and Surface Rights, royalty interests and Assumed Contracts (the
            "Propeftv Records"), and all other tangibles, movables, immovables, miscellaneous
            interests or other assets on the Leases or Units; and

                    (vii)  To the extent transfenable without payment (unless Buyer makes such
            payment), all (i) seismic, geological, geochemical, or geophysical data (including cores
            and other physical samples or materials from wells or tests) belonging to Seller or
            licensed from third parties, and (ii) interpretations of seismic, geological, geochemical or
            geophysical data belonging to Seller or licensed from third parties (to the extenl that the
            transfer of such third party licenses may be made without the payment of an additional
            fee or penalty,

            "Omitted Contract Order" is defined in Section 2(bXi).
             !'Order" means any writ, judgment, decree, injunction or similar order, writ, ruling
     directive or other requirement of the Bankruptcy Court or Governmental Authority (in each such
     case whether preliminary or final).

            "Outside lermination Date" means the first to occur: (i) forty-five (45) days after the
                                                    (ii) October 31,2011
     Sale Order is entered by the Bankruptcy Court and

            "Performance Deposit" is defined in Section 4(d).

            "Permitted Encumbrances" means      :



                            (i) lessors' royalties, overriding royalties, net profits interests,
                    production payments, reversionary interests and similar burdens on or measured
                    by production if the net cumulative effect of such burdens does not operate to: (A)
                    reduce the Net Revenue Interest with respect to any Lease or Well below the Net
                    Reventre Interest set forth on Exhibit B or Exhibit C, as applicable, with respect to
                    such Lease or Well; or (B) obligate a Seller to bear a Wolking Interest with
                    respect to the currently prodr"rcing intervals for any Well greater than the Wolking
                    Interest set forth on Exhibit C with respect to the currently prodLrcing intervals for
                    such
                           'Well (unless the Net Revenue Interest with respect to the currently
                    producing intervals for such'Well is greater than the Net Revenue Interest with
                    respect to the currently producing intervals set forth in on Exhibit B or Exhibit C
                    in the same or greater proportion as any increase in such Working Interest);

                              (ii)preferential rights    to   purchase the Proper'ty        or similar           rights
                    described on Schedule 5(lXA);

                              (iii)Liens for Taxes that are not yet due and payable or that are being
                    contested rn good faith in the normal course of business;

                              (iv)all rights to consent by, required notices to, filings with, or other
                    actions by Governrnental Authorities or other Persons in connection with the
                    transfer of the Property or the trausactions contentplated hereby listed on
                    SclredLrle 5(l);

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                        (u)     excepting circumstalrces where sr"rch rights have already been
                triggered, rights of reassignment upon final intention to sltrrender ol' abandon any
                Propefiy;

                        (ui)     easements, rights of way, servitudes, pertnits, sttrface leases and
                otlrer rights with respect to surface operations, pipelines, graztng,logging, cauals,
                ditches, reservoirs or the like, and easements for streets, alleys, highways,
                pipelines, telephone lines, power lines, distribution lines, railways and other
                easements and rights-of-way, on, ovel or in respect of any of the Propefty or any
                restriction on access thereto described in this Agreement or filed or referenced in
                the records of the counties in which the Property is located, in each case, that do
                not materially interfere with operations currently conducted on the affected
                Property;

                        (vii)   the terms and conditions of the Leases, Material Contracts or of
                any compulsory pooling or other order of any Governmental Authority; provided,
                however, that the net cumulative effect of such items does not: (A) reduce the Net
                Revenue Interest with respect to any Lease or Well below the Net Revenue
                Interest set forth on Exhibit B or Exhibit C, as applicable, with respect to such
                Lease or V/ell; or (B) obligate a Seller to bear a Working Interest with respect to
                the currently producing intervals for any Well greater than the Working Interest
                set forth on Èxhibit C with respect to the curently producing intervals for srrch
                Well (¡¡less the Net Revenue Interest with respect to such Well is greater than the
                Net Revenue Interest with respect to the currently producing intervals set forth in
                on Exhibit C in the same or greater proportion as any increase in such Working
                Interest);

                        (viii)materialmen's, mechanics', operators' or other similar Liens arising
                (A) in the ordinary course of business or (B) incident to the construction or
                improvement of any property in the ordinary course of business, in each case for
                amounts not yet due and payable (including any amounts being withheld as
                provided by Law);

                         (i^)  such Title Defects that Buyer has waiverl       in writing                 (ot' has beett
                cleemed to have waived pursuant to Section 8(d));

                         (x)   Liens burdening the Property that    will   be discharged or released at
                or before Closing;

                         (xi)     calls on production under existing Contracts listcd on Schedule
                5(Ð;

                         (xii)gas balancing and other production balancing obligations and
                obligations to balance or furnish make-up Hydrocalbotrs ltnder Hydrocarbotr
                sales, gathering, processing or trausportation Contracts;

                         (xiii)
                              all rights reserved to or vested in any Governnrelltal ALrthol'ities to
                control or regulate any of the Property in any ntanttet' or to assess Tax with
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                                                                                         'Sc'
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                   respect to the Property, the ownership, use or operation thereof, or reventle,
                   income or capital gains with respect thereto, and all obligations and duties ltnder
                   all applicable Laws of any such Governmental Ar-rthority or under any francliise,
                   grant, license or Pertnit issued by any Covemmental Authority;

                           (xiv)   zoning and planning ordinances and municipal regulations;

                           (xv)  Liens against landowners (or lessors or mineral owners under the
                   Leases) that (A) do not materially interfere with the use or     ownership of the
                   Property subject thereto or affected thereby (as currently used or owned); and (B)
                   secure amounts not yet due and payable; and

                           (xvi)  following Closing, any matter of which Buyer was a\ilare prior to
                   the Defect Notice Date that could have been claimed as a Title Defect pursuant to
                   Section 8(d) but for which Buyer failed to deliver a Notice of Defectlve Interests
                   with respect thereto in accordance with Section 8(d) prior to the Defect Notice
                   Date.

             "BgISgI" means any natural person, corporation, company, partnership, association,
     limited liability company, limited partnership, limited liability partnership, joint venture,
     business enterprise, trust or other legal entity, including any Covernmental Ar"rthority.

            "Preferential Purchase Riqht" means any option, right of first refusal,                   ol     similar
     preferential purchase right burdening any of the Oil and Gas Interests.

             "Prepetition Lenders" means the senior lender, Gatrison Loan Agency Services, LLC, as
     administrative agent for the following lenders: Garrison Funding 2013'2 Ltd., GMMF Loan
     Holdings LLC, Garrison GMM Loan Holdco LLC and Garrison Capital Inc.; and junior lender,
     Dorr-ier Equities, Ltd.

            "Prevailins Bidder" has the meaning set forth in the Bid Procçdures Order

            "Previously Omitted Contract" is defined in Section 2(bXi).

            "Property" is defined in Section I

            "Purchase Price" is defined in Scç11-sn-4ft).

            "Rgçe.fdö" is defined in Section 7(a).

            "Reimbursement" is defined in Section l4(a).

            "Rovalty Owners" is defined in Section 19(b).

            "Sale Order" means an order of the Bankruptcy Colrrt approving the trallsaction
     contenrplated by this Agreement, which order must be reasonably acceptable in form and
     substance to the Parties, the Prepetition Lenders, and tlie DIP Secured Parties and not
     inconsiste¡t with the terms of this Agreement and which (i) approves the Sale Transaction

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     contenrplated hereby and the terms and conditions of this Agreemettt,  (ii) finds that notice of the
     hearing concerning approval of this Agreernent and of the Sale         Transactiou   was given in
     accordãnce with the BanklLrptcy Code and constitutes such notice as is approprìate under the
     particular circumstances, (iii) finds that Buyer is a "good faith" purchaser entjtled to the
     protections afforded by section 363(m) of the BankrLrptcy Code, (iv) provides that the Sale
     Transaction is not subject to avoidance pursuant to section 363(n) of the Bankruptcy Code, and
     (iii) provides for the vesting of the Property in Buyer, in each case, Free and Clear (except for
     Permitted Encumbrances and Buyer's Assumed Obligations).

          "Sale Process" n'ìeans the procedures for Seller's marketing of the Ploperty to Persons
     who may make higher and better offers to acquire such Property, all as outlined in the Bicl
     Proccdures Order.

              "scheduled Consents" is defined in Section 5(d)'

              "SgllçI" is defined in the preamble.

              "seller-Operated" means operations by Seller or an Affiliate of Seller'

              "seller Parties" is defined in Section 20(b).

              "seller's Knowledge" is defined in Section 5(.m)'

              "guspended Funds" is defined in Section l 8(c).

              "Transfer Taxes" is defined in Section 18(b)'

             "TAIçg" means any income taxes or similar assessments or al.ìy sales, excise, occupation,
         ad valorem, property, production, severance, tratrsportation, employment, payroll, Ii'anchise,
     r"rse,
     o¡ other tax imposed by any federal, state, or local taxing autholity, including any iuterest,
     penalties, or additions attributable thereto.

              "Title AdiustmenlAnautl" is defined in Section 8(i),

              "Title Benefit" is defined in Section 8(c),

              "Title Benefit Amount" is defined in Section 8(h).

              "Title Benefit Notice" is defined in Section B(e).

              "Title Benefìt Property" is defined iri Section 8(e).

              "Title Defect" is defined in Section 8(b).

              "Title Defect Amount" is defined in Section B(f).

              "Title Defect Expert" is defined in Section 8(lXi).

              "Title Defect Propert)"' is defined in Section B(d)'

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            "Title Dispute Matter" is defined in Section 8(l)'

            "Title Dispute Notice" is defined in Section 8(l).

            "Transfer Taxes" is defined in Section 18(b)'

             "Working Interest" means, with respect to any Person, the percentage of the costs and
     expenses to be borne by such Person for the maintenance, development and operation of a Lease
         'Well without regard to the effect of any and all royalties, overriding royalties, net profits
     or
     interests and other similar burdens on or measured by production.




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